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Fiii in this information to identify your case: R EC E WE D
United States Bankruptcy Court for the: A N n F| LE' 9 DLS
DiSTRiCT OF NEVADA ?plg \JIQN 17 Pm 2 18
Case number (irknown) Chapter you are ming under:
- Chapter 7 U..S BA|"€ i\' liU fall C OU RT
MARY A. SCHG§ i, CLE`RK

ill Chapter 11
i:] Chapter 12 .i

iZi Chapter 13 i_`_i Check ifthis an
amended filing

 

 

 

Officiai Form 101
Voluntary Petition for individuals Fiiing for Bankruptcy 12/11

The bankruptcy forms use you and Debtor1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a joint
case-and in joint cases, these forms use you to ask for information from both debtors. For exampie, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. in joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

 

Be as complete and accurate as possib|e. if two married people are filing together, both are equally responsible for supplying correct information. if
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

identify Yourse|f

About Debtor 1: About Debtor 2 (Spouse Oniy in a Joint Case):

1. Your fui| name

 

 

 

 

 

 

Write the name that is On BRANDON AMANDA
your government-issued First name First name
picture identification (for

example, your driver's pAUL NlCoLE
license or passport)' Middie name ii/iiddie name
ilzj.;rr‘i?if)i/coal:iroeilc§)u;/:ur STORMER STORMER
meeting With the trustee Last name and Sutfix (Sr., Jr., i|, iii) Last name and Suffix (Sr., Jr., ii, iii)
Aii other names you have

used in the last 8 years

include your married or

maiden names.

Oniy the last 4 digits of

your Sociai Security

number °' federal xxx-xx-8628 xxx-xx-9932

individual Taxpayer
identification number
(iTiN)

 

Ofiiciai Form 101

Voluntary Petition for individuals Fiiing for Bankruptcy page 1

 

Case 19-10286-mkn
BRANooN PAuL sToRMER

Debtor 1

DeblOl'Z AMANDA N|COLE STORMER

4. Any business names and
Empioyer identification
Numbers (EiN) you have
used iri the last 8 years

include trade names and
doing business as names

About Debtor 1:

- i have not used any business name or EiNs.

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Case number (ifknown)

 

About Debtor 2 (Spouse Only in a Joint Case):

- i have not used any business name or EiNs.

 

Business name(s)

Business name(s)

 

EiNs

EiNs

 

5. Where you live

8610 S MARYLAND PKWY #2078
Las Vegas, NV 89123
Number, Street, City, State & ZiP Code

Ciark
County

if your mailing address is different from the one
above, fill it in here. Note that the court will send any
notices to you at this mailing address.

if Debtor 2 lives at a different address:

Number, Street, City, State & ZiP Code

County

if Debtor 2's mailing address is different from yours, fill it

in here. Note that the court wiii send any notices to this

mailing address

 

Number, P.O. Box, Street, City, State & ZiP Code

Number, P.O. Box, Street, City, State & ZiP Code

 

6. Why you are choosing
this district to file for
bankruptcy

Chec/< one:

l Over the last 180 days before Hiing this petition,
i have lived in this district longer than in any
other district

l:l i have another reason.
Expiain. (See 28 U.S,C. § 1408.)

Check one:

l Over the last 180 days before filing this petition, i
have lived in this district longer than in any other

district

l:i i have another reason.

Expiain. (See 28 U.S.C. § 1408.)

 

 

 

Ofnciai Form 101

Voluntary Petition for individuals Fiiing for Bankruptcy

page 2

 

 

 

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Debtor1 BRANDON PAUL STORMER
Debtor 2 AMANDA N|COLE STORMER Case number (ifi<nown)

 

 

Part 2: Teii the Court About Your Bankruptcy Case

 

7. The chapter of the Check one. (F or a brief description of each, see Notice Requ/'red by 11 U.S.C. § 342(b) for /ndlvi‘duals Fi/ing for Bankruptcy
Bankruptcy Code you are (Form 2010)). Aiso, go to the top of page 1 and check the appropriate box.
choosing to file under

l Chapter7
l:l Chapter 11
L_.l Chapter 12

l:l Chapter 13

 

 

8. How you will pay the fee |:l l will pay the entire fee when l file my petition, Please check with the cierk’s office in your local court for more details
about how you may pay. Typicaliy, if you are paying the fee yourseif, you may pay with cash, cashier’s check, or money
order. if your attorney is submitting your payment on your behaif, your attorney may pay with a credit card or check with
a pre-printed address

- i need to pay the fee in installments. if you choose this option, sign and attach the Application for /ndividuals to Pay
The Fiiing Fee in Instal/ments (Officiai Form 103A).

[] | request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). if you choose this option, you must fill out
the App/icat/'on to Have the Chapter 7 Fi/ing Fee Waived (Officiai Form 103B) and file it with your petition,

 

 

 

 

 

 

9. Have you filed for l NO
bankruptcy within the `
last 8 years? ij Yes.
District When Case number
District When Case number
District When Case number
10. Are any bankruptcy l NO
cases pending or being
filed by a spouse who is |:] Yes.
not filing this case with
you, or by a business
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
Debtor Relationship to you
District When Case number, if known
11. Do you rent your |:| No_ Go to line 12.
' ?
residence - Yes. Has your landlord obtained an eviction judgment against you?

- No. Go to line 12.

ij Yes. Fiii out lnitia/ StatementAbout an Eviction JudgmentAgainst You (Form 101A) and tile it with this
bankruptcy petition.

 

Ofiicial Form 101 Voluntary Petition for individuals Fiiing for Bankruptcy page 3

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Debtor1 BRANDON PAUL STORMER
Debtor 2 AMANDA N|COLE STCRMER Case number (irknown)

 

 

Report About Any Businesses You Own as a Soie Proprietor

 

12. Are you a sole proprietor
of any fuil- or part-time l No, Go to Part 4.
business?

[_'_] Yes_ Name and location of business

A sole proprietorship is a
business you operate as Name of business. if any
an individuai, and is not a
separate legal entity such
as a corporation,
partnership, or LLC.

if you have more than one
sole proprietorship, use a

separate sheet and attach
it to this petition, Check the appropriate box to describe your business:

 

 

Number, Street, City, State & ZiP Code

 

 

 

[] Health Care Business (as defined in 11 U.S.C. § 101(27A))
[:| Singie Asset Reai Estate (as defined in 11 U.S.C. § 101 (51 B))
[] Stockbroker (as defined in 11 U.S.C. § 101(53A))
[:] Commodity Broker (as defined in 11 U.S.C. § 101(6))
|:| None of the above
13. Are you filing under If you are iiling under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
Chapter 11 of the deadlines. if you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
Bankruptcy Code and are operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
you a small business in 11 U.S.C. 1116(1)(B).
debtor?
l No i am not filing under Chapter 11.
For a definition of small `
busmess debtor’ See 11 ij NO_ i am filing under Chapter 11, but l am NOT a small business debtor according to the definition in the Bankruptcy
U.S.C. § 101(51D). Code
|_'_] Yes_ l am Hling under Chapter 11 and i am a small business debtor according to the dennition in the Bankruptcy Code.

 

Report if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

 

14. Do you own or have any - No_
property that poses or is
alleged to pose a threat |:l Yes.
of imminent and What is the hazard?

 

identifiable hazard to

public health or safety?

Or do you own any , 4 , .
property that needs if immediate attention is
immediate attention? needed, why is it needed?

 

For examp/e, do you own

perishable goods, or

livestock that must be fed, Where is the property?
or a building that needs

urgent repairs?

 

Number, Street, City, State & Zip Code

 

Ofticiai Form 101 Voluntary Petition for individuals Fiiing for Bankruptcy page 4

Case 19-10286-mkn
BRANDoN PAuL sToRiviER

Debtor 1

D€bef 2 AMANDA N|COLE STORMER

 

m Expiain Your Efforts to Receive a Briefing About Credit Counseling

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Case number (irknown)

 

 

15. Teii the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you Hie for bankruptcy
You must truthfully check
one of the following
choices. ifyou cannotdo
so, you are not eligible to
fiie.

if you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

About Debtor 1:
" You must check one:

l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed With the agency,

i received a briefing from an approved credit l'_'i
counseling agency within the 180 days before l

filed this bankruptcy petition, but l do not have

a certificate of completion.

Vihthin 14 days after you file this bankruptcy
petition, you MUST file a copy of the certificate and
payment plan, if any.

i certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement,

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy,

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you flie.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

l am not required to receive a briefing about
credit counseling because of:

[_'I incapacity.
l have a mental illness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about finances.

[] Disability.
My physical disability causes me to be
unable to participate in a briefing in person,
by phone, or through the internet, even after i
reasonably tried to do so.

|:] Active duty.
i am currently on active military duty in a
military combat zone.

if you believe you are not required to receive a
brieth about credit counseling, you must file a
motion for waiver credit counseling with the court

About Debtor 2 (Spouse Oniy in a Jolnt Case):
You must check one.'

l received a briefing from an approved credit
counseling agency within the 180 days before i filed
this bankruptcy petition, and l received a certificate of
completion.

Attach a copy of the certincate and the payment plan, if
any, that you developed with the agency.

i received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, but | do not have a certificate
of completion.

Within 14 days after you die this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if
any.

| certify that i asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after l made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptcy

if the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must
file a certincate from the approved agency, along with a
copy of the payment plan you developed, if any, if you do
not do so, your case may be dismissed.

Any extension of the BO-day deadline is granted only for
cause and is limited to a maximum of 15 days.

i am not required to receive a briefing about credit
counseling because of:

ij incapacity.
l have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

l'__'i Disability.
iViy physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the internet, even after i reasonably tried to
do so,

[_'_] Active duty.
l am currently on active military duty in a military
combat zone.

if you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the court.

 

Officiai Form 101

Voluntary Petition for individuals Fiiing for Bankruptcy

page 5

 

Case 19-10286-mkn

Debtor1 BRANDON PAUL STORMER
Deber 2 AMANDA N|COLE STORMER

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Case number (ifknown)

 

Answer These Questions for Reporting Purposes

 

 

16. What kind of debts do 16a.

you have? individual primarily for a personai, famiiy, or household purpose.”

l'_'i No. Go io line 16b.
- Yes. Go to line 17.

Are your debts primarily consumer debts? Consumer debts are denned in 11 U.S.C. § 101 (8) as “incurred by an

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

Ei No. Go to line 16c.
Ei Yes. Go to line 17.

 

 

160. State the type of debts you owe that are not consumer debts or business debts
17. Are you filing under |:| NO_ iam not filing under Chapter 7. Go to line 18.
Chapter 7?
Do you estimate that l Yes. l am filing under Chapter 7. Do you estimate that after any exempt property ls excluded and administrative expenses

after any exempt
property is excluded and

administrative expenses . No
are paid that funds will

be available for l:l Yes
distribution to unsecured

creditors?

are paid that funds will be available to distribute to unsecured creditors?

 

18. How many Creditors do - 1_49
you estimate that you

i'_'l 1,000-5,000

iIi 25,001-50,000

 

ij 50_99 ifl 5001-10,000 iIi 50,001~100,000
owe?
['J 100_199 m 10,001-25,000 i:i i\/lOre lharllOG,OOO
ill 200-999
19- H<>w much do you l $0 - $50,000 iii $1,000,001 - 310 million ill $500,000,001 - $1 billion

r t tsi
§:iii‘oariii'z°urasse ° Ei$§o,om-$ioo,ooo

L'.l $100,001 - $500,000
ij $500.001 - $1 million

i:i $10,000,001 - $50 million
i:i $50,000,001 ~ $100 million
ij $100,000,001 - $500 million

g $1,000,000,001 - $10 billion
i:i $10,000,000,001 - $50 billion
ij More than $50 billion

 

20. How much do you

tl t il olim m $0 ' $50’000
eS ma e yOUI' a eS
to bo? l $50,001 - $100,000

iIl $100,001 ~ $500,000
ill $500,001 - $1 million

iii $1,000,001 - 310 million

iIi $10,000,001 - $50 million
iii $50,000,001 - $100 million
ij $100,000,001 - $500 million

EJ $500,000,001 ~ $1 billion

i:i $'l,OO0,000,00'l - $'lO billiO|’l
i:i $'l0,000,000,00‘l - $50 billion
i:l More than $50 billion

 

Part 7: Sign Beiow

 

 

For you

l have examined this petition, and i declare under penalty of perjury that the information provided is true and correct

if l have chosen to file under Chapter 7, l am aware that i may proceed, if eiigibie, under Chapter 7, 11,12, or 13 of title 11,
United States Code. i understand the relief available under each chapter, and i choose to proceed under Chapter 7.

if no attorney represents me and i did not pay or agree to pay someone who is not an attorney to help me fill out this
document i have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11l United States Code, speclHed in this petition.

bankruptcy case can result in fines up to $250,000, or imprisonment for ears or oth. 18 U.S.C. §§ 152, 1341l 1519,

i understand making a false statement concealing property, or obtaining oney property by fraud in connection with a
” to
1 and 3571. / s M

 

 

 

n w ' it `
edmiston PAuL sToRMER AMANDA NicoLE sioRileR
Signature of Debtor 1 Signature of Debtor 2
EXeCuied On January 14, 2019 Execufed on January 14, 2019

MM/DD/YYYY MM/DD/YYYY

 

Official Form 101

Voluntary Petition for individuals Fiiing for Bankruptcy page 6

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Debtor1 BRANDON PAuL sToRMER

 

 

 

Debtor 2 AMANDA N|COLE STORMER Case number (ifknowni
For your attorney, if you are i, the attorney forthe debtor(s) named in this petition, declare that l have informed the debtor(s) about eligibility to proceed
represented by one under Chapter 7, 11, 12, or 13 of title 11l United States Code, and have explained the relief available under each chapter

for which the person is eligible. l also certify that i have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
if you are not represented by and, in a case in which § 707(b)(4)(D) applies, certify that i have no knowledge alter an inquiry that the information in the
an attorney, you do not need schedules filed with the petition is incorrect
to file this page.

Date January 14, 2019

 

 

Signature of Attorney for Debtor MM / DD /YYYY

 

Prinied name

 

Firm name

 

Number, Street, City, State & ZiP Code

Contaci phone Emaii address

 

 

 

NV

Bar number & State

 

 

Offlcial Form 101 Voluntary Petition for individuals Fiiing for Bankruptcy page 7

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Debtor1 BRANDON PAUL STORMER
D€bei 2 AMANDA N|COLE STORMER Case number (ifk"°W")

 

 

 

For you if you are filing this
bankruptcy without an
attorney

if you are represented by an
attorney, you do not need to
file this page.

The law allows you, as an individuai, to represent yourself in bankruptcy court, but you should understand that many
people find it extremely difficult to represent themselves successfully. Because bankruptcy has long-term
financial and legal consequences, you are strongly urged to hire a qualified attorney.

To be successfui, you must correctly file and handle your bankruptcy case. The rules are very technicai, and a mistake or
inaction may affect your rights. For example, your case may be dismissed because you did not file a required document
pay a fee on time, attend a meeting or hearing, or cooperate with the court, case trustee, U.S. trusteel bankruptcy
administrator, or audit him if your case is selected for audit. if that happens, you could lose your right to file another case,
or you may lose protections including the benefit of the automatic stay.

You must list all your property and debts iri the schedules that you are required to file with the court Even if you plan to pay
a particular debt outside of your bankruptcy, you must list that debt iri your schedules if you do not list a debt, the debt may
not be discharged. if you do not list property or properly claim it as exempt you may not be able to keep the property. The
judge can also deny you a discharge of all your debts if you do something dishonest in your bankruptcy case, such as
destroying or hiding property, falsifying records, or lying. individual bankruptcy cases are randomly audited to determine if
debtors have been accurate, truthfui, and compiete. Bankruptcy fraud is a serious crime; you could be fined and
imprisoned.

if you decide to tile without an attorney, the court expects you to follow the rules as if you had hired an attorney. The court
will not treat you differently because you are nlan for yourseif. To be successfui, you must be familiar with the United
States Bankruptcy Code, the Federai Rules of Bankruptcy Procedure, and the local rules of the court in which your case is
filed. You must also be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal consequences?

|:] No
- Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are inaccurate or incomplete, you
could be Hned or imprisoned?

l:l No
- Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

|:i No
l Yes Name of Person JANEE ALLEN
Attach Bankruptcy Petition Preparer’s Notice, Declarat/'on, and Signature (Officiai Form 119).

 

By signing here, i acknowledge that l understand the risks involved in fill g without an attorney. i have read and understood

  

 

 

 

 

 

 

 

this notice, and l am aware that filing a bankruptcy case without an att caus e my rights or property if i do
ng;$operly handlebeé¢c\:¢:as$w
BRKNdoN `PAuli sToRMER AMil.NbA NicoLE sToRMER
Signature of Debtor 1 Signature of Debfor 2
Date January 14, 2019 Date January 14, 2019

MlVi/DD/YYYY MNl/DD/YYYY
COnfaCfphOne 702-845-0961 COnfaCiPhOn€ 702-845-0961
Ceil phone Ceil phone
Emaii address BRANDONSTORMER702@GMA| Emaii address

L.COM

 

 

 

Of&ciai Form 101

Voluntary Petition for individuals Fiiing for Bankruptcy page 8

 

 

 

 

 

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Ccrtificatc Numbcl‘: l 5725-NV-CC-032158294

|||l|l|llll|illll|ll||ll ||ll|l||l||lll ll|||||l|llll||l|llllll|

l$'i?.S-NV-CC-Ofi?. l 58294

 

 

CERTIF!CAirE ()F C()LiNSELrNG

I CERTIFY that on January 14, 2019, at 8:57 o'clock Pl\/I EST, Brandon Stormer
received from ()()l chtorcc, Inc., an agency approved pursuant to ll U.S.C. §
l ll to provide credit counseling in the District of chada, an individual [ol'
group] briefing that complied with thc provisions of l l U.S.C. §§ lO9(h) and l ll.

 

A debt repayment plan was not pi'_cparcd. If a debt repayment plan was prcparcd, a
copy of thc debt repayment plan is attached to this certificate

This counseling Scssion was conducted by intcrnci;l

Datc; January 14, 20l9 By: /s/'Andrcs Revcs

 

Namc: Aridrcs Rcycs

 

Tii'lc: Counsclor

 

‘*‘ Individuais who wish to file a bankruptcy case linder titlc l l of the United States Bankruptcy
Code arc required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through thc
credit counseling agency See l l U.S.C. §§ l09(h) and 52l(b).

 

 

 

 

 

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Certificate Number: lS'725~NV-CC»O32 l 58295

millllmlull!lll!lii litiiigiiimminimum

CC-O

 

 

CEIrrIFlCA'_r_E OF CoUNsELING

 

l CERTIFY that on January 144 2019, at 8:57 o'clocl< Pl\/I EST, Amanda Storn_i§i_'
received from ()()l Debtorcc, Ir&, an agency approved pursuant to l l U.S.C. §
lll to provide credit counseling in the District of Nevada, an individual [or

group] briefing that complied with the provisions of ll U.S.C. §§ l()9(h) and lll.

 

 

 

A debt repayment plan was not prepared If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate

This counseling session was conducted by interr_@.

Date: January 14, 2019 ` By: /s/Andres Reyes

 

Name.' Andres Reyes

'l`itle: Counselor

 

* Individuals who wish to file a bankruptcy case under title l l of the United States Bankruptcy
Code are required to tile with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency See ll U.S.C. §§ 109(h) and 512l(b).

 

 

 

 

 

 

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Notice Required by 11 U.S.C. § 342(b) for
individuals Fiiing for Bankruptcy (Form 2010)

 

 

This notice is for you if:

You are an individual filing for bankruptcy,
and

Your debts are primarily consumer debts.
Consumer debts are defined in 11 U.S.C.

§ 101(8) as “incurred by an individual
primarily for a personai, fami|y, or

household purpose."

 

 

Chapter 7: Liquidation

 

$245 filing fee
$75 administrative fee

+ $15 trustee surcharge

 

 

 

The types of bankruptcy that are available to
individuals

individuals who meet the qualifications may file under
one of four different chapters of Bankruptcy Code:

Chapter 7 ~ i_iquidation
Chapter 11 - Reorganization

Chapter 12 ~ Voluntary repayment plan
for family farmers or
fishermen

Chapter 13 - Voluntary repayment plan
for individuals with regular
income

You should have an attorney review your
decision to file for bankruptcy and the choice of
chapter.

Notice Required by 11 U.S.C. § 342(b) for individuals Fiiing for Bankruptcy (Form 2010)

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$335 total fee

Chapter 7 is for individuals who have financial
difficulty preventing them from paying their debts
and who are willing to allow their nonexempt
property to be used to pay their creditors The
primary purpose offiiing under chapter 7 is to have
your debts discharged The bankruptcy discharge
relieves you after bankruptcy from having to pay
many of your pre-bankruptcy debts. Exceptions exist
for particular debts, and liens on property may still
be enforced after discharge For exampie, a creditor
may have the right to foreclose a home mortgage or
repossess an automobiie.

i-iowever, if the court finds that you have committed
certain kinds of improper conduct described in the
Bankruptcy Code, the court may deny your
discharge

You should know that even if you die chapter 7 and
you receive a discharge, some debts are not
discharged under the law. Therefore, you may still
be responsible to pay:

most taxes;

most student loans;

domestic support and property settlement
obligations;

page 1

Best Case Bankruptcy

 

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most fines, penalties, forfeitures, and criminal
restitution obligations; and

certain debts that are not listed in your bankruptcy
papers

You may also be required to pay debts arising from:
fraud or theft;

fraud or defalcation while acting in breach of
fiduciary capacity;

intentional injuries that you inflicted; and

death or personal injury caused by operating a
motor vehicie, vessei, or aircraft while intoxicated
from alcohol or drugs.

if your debts are primarily consumer debts, the court
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount
You must file Chapter 7 Stafement of Your Current
Month/y/ncome (Officiai Form 122A-1) if you are an
individual filing for bankruptcy under chapter 7. This
form will determine your current monthly income and
compare whether your income is more than the median
income that applies in your state.

if your income is not above the median for your state,
you will not have to complete the other chapter 7 form,
the Chapter 7 li/ieans Test Calcu/at/'on (Officiai Form
122/\-2).

if your income is above the median for your state, you
must file a second form -the Chapter 7 Means Test
Calcu/ation (Officiai Form 122A-2). The calculations on
the form- sometimes called the Means Test-deduct
from your income living expenses and payments on
certain debts to determine any amount available to pay
unsecured creditors if

Notice Required by 11 U.S.C. § 342(b) for individuals Fiiing for Bankruptcy (Form 2010)

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your income is more than the median income for your
state of residence and family size, depending on the
results of the Means Test, the U.S. trustee, bankruptcy
administrator, or creditors can nie a motion to dismiss
your case under§ 707(b) ofthe Bankruptcy Code. if a
motion is filed, the court will decide if your case should
be dismissed To avoid dismissal, you may choose to
proceed under another chapter of the Bankruptcy
Code.

if you are an individual filing for chapter 7 bankruptcy,
the trustee may sell your property to pay your debts,
subject to your right to exempt the property or a portion
of the proceeds from the sale of the property The
property, and the proceeds from property that your
bankruptcy trustee sells or |iquidates that you are
entitled to, is called exempt property Exemptions may
enable you to keep your home, a car, clothing, and
household items or to receive some of the proceeds if
the property is sold.

Exemptions are not automaticl To exempt property,
you must list it on Schedu/e C.' The Property You C/aim
as Exempf (Officiai Form 1060). if you do not list the
property, the trustee may sell it and pay all of the
proceeds to your creditors

 

Chapter11: Reorganization

 

$1,167 filing fee

+ $550 administrative fee
$1,717 total fee

Chapter 11 is often used for reorganizing a business,
butts also available to individuals The provisions of
chapter 11 are too complicated to summarize brietly.

page 2

Best Case Bankruptcy

 

 

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Read These im o ortant Warnin o s

 

Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you fiie.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. if you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your famiiy, your home, and your possessions

Aithough the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfuiiy. The rules are technica|, and a mistake
or inaction may harm you, if you file without an attorney, you are still responsible for knowing and

following all of the legal requirements

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the

necessary documents

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Niaking a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

Chapter12: Repayment plan for family
farmers or fishermen

 

$200 filing fee
+ $75 administrative fee
$275 total fee

Simiiar to chapter 13, chapter 12 permits family farmers
and fishermen to repay their debts over a period oftime
using future earnings and to discharge some debts that
are not paid.

 

l
Chapter13: Repayment plan for
individuals with regular
income

 

$235 H|ing fee
+ $76 administrative fee
$310 total fee

Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
installments over a period oftime and to discharge
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
dollar amounts set forth in 11 U.S.C. § 109.

Notice Required by 11 U.S.C. § 342(b) for individuals Fiiing for Bankruptcy (Form 2010)

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Under chapter 13, you must file with the court a plan
to repay your creditors all or part of the money that
you owe them, usually using your future earnings if
the court approves your plan, the court will allow you
to repay your debts, as adjusted by the plan, within 3
years or 5 years, depending on your income and other
factors

After you make all the payments under your plan,
many of your debts are discharged The debts that are
not discharged and that you may still be responsible to
pay include:

domestic support obligations

most student loans,

certain taxes,

debts forfraud ortheft,

debts for fraud or defalcation while acting in a
fiduciary capacity,

most criminal lines and restitution obligations

certain debts that are not listed in your
bankruptcy papers,

certain debts for acts that caused death or
personal lnjury, and

certain long-term secured debts

page 3

Besl Case Bankruptcy

 

 

Warnii(gaseel\@etlit)€&tinisikn TiiiJeoc 1 Er

Section 521(a)(1) of the Bankruptcy Code requires that
you promptly file detailed information about your
creditors assets liabilities income, expenses and
general financial condition. The court may dismiss your
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the
Bankruptcy Rules, and the local rules of the court

For more information about the documents and
their deadlines go to: .
http://www.uscourts.gov/bkforms/bankruptcy form

s.html#procedure.

 

 

 

 

Bankruptcy crimes have serious consequences

if you knowingly and fraudulently conceal assets
or make a false oath or statement under penalty
of perjury-either orally or in writing-in
connection with a bankruptcy case, you may be
fined, imprisoned or both.

All information you supply in connection with a
bankruptcy case is subject to examination by the
Attorney Genera| acting through the Office ofthe
U.S. Trustee, the Office of the U.S. Attorney, and
other offices and employees ofthe U.S.
Department of Justice.

lVlake sure the court has your mailing address

The bankruptcy court sends notices to the mailing
address you list on Voluntary Pefit/'on for /nd/'v/'dr/als
Fiiing for Bankruptcy (Officiai Form 101). To ensure
that you receive information about your case,
Bankruptcy Ruie 4002 requires that you notify the court
of any changes in your address

Notice Required by 11 U.S.C. § 342(b) for individuals Fiiing for Bankruptcy (Form 2010)

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/-\ married COUpl€ may i|l€ 3 DafiKl"UptCy CSS€

tered Oltmeme-ieatleieeO/nilage taint esa ioth ease and

each spouse lists the same mailing address on the
bankruptcy petition, the bankruptcy court generally will
mall you and your spouse one copy of each notice,
unless you file a statement with the court asking that
each spouse receive separate copies

Understand which services you could receive from
credit counseling agencies

The law generally requires that you receive a credit
counseling briefing from an approved credit counseling
agency. 11 U.S.C. § 109(h). if you are filing a joint
case, both spouses must receive the briefing With
limited exceptions you must receive it within the 180
days before you file your bankruptcy petition. This
briefing is usually conducted by telephone or on the
internet,

in addition, after filing a bankruptcy case, you generally
must complete a financial management instructional
course before you can receive a discharge if you are
filing a joint case, both spouses must complete the
course

You can obtain the list of agencies approved to provide
both the briefing and the instructional course from:
http://justlce.gov/ust/eo/hapcpa/ccde/cc approved.htm|

 

in Alabama and North Carolina, go to:
http://www.uscourls.qov/FederaiCourts/Bankruptcy/
BankruptcyResources/ApprovedCredit

AndDethounse|ors.aspx.

if you do not have access to a computer, the clerk of
the bankruptcy court may be able to help you obtain
the list.

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Best Case Bankruptcy

 

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Fiii in this information to identify the case:
Debtor1 BRANDON PAUL STORMER
First Name Middie Name Last Name

Debtor 2 AMANDA N|COLE STORMER

(Spouse, if fliing) First Name Middle Name Last Name

United States Bankruptcy Court for the'. DiSTR|CT OF NEVADA

 

Case number Chapter 7
(if known)

 

Officiai Form 119
Bankruptcy Petition Preparer's Notice, Dec|aration, and Signature 12/15

Bankruptcy petition preparers as defined in 11 U.S.C. § 110 must fill out this form every time they help prepare documents that are filed in the
case. if more than one bankruptcy petition preparer helps with the documents each must sign in Part 3. A bankruptcy petition preparer who
does not comply with the provisions of title 11 of the United States Code and the Federal Rules of Bankruptcy Procedure may be fined,
imprisoned, or both 11 U.S.C. § 110; 18 U.S.C. § 156.

Notice to Debtor

Bankruptcy petition preparers must give the debtor a copy of this form and have the debtor sign it before they prepare any documents for
filing or accept any compensation. A signed copy of this form must be filed with any document prepared.

Bankruptcy petition preparers are not attorneys and may not practice law or give you legal advice, including the foilowing:

» whether to tile a petition under the Bankruptcy Code (11 U.S.C. § 101 et seq.);

~ whether filing a case under chapter 7, 11, 12, or 13 is appropriate;

o whether your debts will be eliminated or discharged in a case under the Bankruptcy Code;

~ whether you will be able to retain your home, car, or other property after commencing a case under the Bankruptcy Code;
o what tax consequences may arise because a case is died under the Bankruptcy Code;

¢ whether any tax claims may be discharged;

¢ whether you may or should promise to repay debts to a creditor or enter into a reaffirmation agreement

o how to characterize the nature of your interests in property or your debts; or

o what procedures and rights apply in a bankruptcy case.

The bankruptcy petition preparer JANEE ALLEN has notified me of any maximum allowable fee before preparing any document
jet/Fiiing or accepting any fee.
1- , ' »¢

lri-\/a;/-=»;., Date January 10, 2019

Signat;iz/Gf Debt 1 aci:g\§@ receipt of this notice NlM/DD /YYYY
/ <"" ’/ ' ' Date January 10, 2019

Signature of Debtor 2 acknowledging receipt of this notice MM/DD /YYYY

Ofnclal Form 119 Bankruptcy Petition Preparer‘s Notice, Dec|aration, and Signature page 1

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Debtor1 BRANDON PAUL STORMER
Debtor 2 AMANDA N|COLE STORMER Case number(ifi<nown)

Deciaration and Signature of the Bankruptcy Petition Preparer

Under penalty of perjury, | declare that:

 

~ i am a bankruptcy petition preparer or the ocher, principai, responsible person, or partner of a bankruptcy petition preparer;

o i or my firm prepared the documents listed below and gave the debtor a copy of them and the Notice to Debtor by Bankruptcy Petition
Preparer as required by 11 U.S.C. §§ 110(b)l 110(h), and 342(b)‘, and

~ if rules or guidelines are established according to 11 U.S.C. § 110(h) setting a maximum fee for services that bankruptcy petition
preparers may charge, i or my firm notified the debtor of the maximum amount before preparing any document for filing or before
accepting any fee from the debtor.

 

 

 

 

JANEE ALLEN

Printed name Titie, if any Firm name, if it applies
P.O. BOX 570422

LAs vEcAs, NEVADA 89157 702-716-4170
Number, Street, City, State & ZiP Code Contact phone

| or my firm prepared the documents checked below and the completed declaration is made a part of each document that | check:
(Check all that apply.)

ifl voluntary Petltlon (Form101) IE schedule l (Form 1oei) |:] chapter 11 statement drYour current ivionthiy
, _ income (Form 1228)

l'\:] StatementAboutYour Sociai Security Numbers @ Scheduie J (Form 106J) [_I

Form 121

( ) E{:i Dec|aration About an individual Debtor's Scheduies “ §::m:r;nedSé;:§m;t?;:;Ygl;"n§)n:jirt:::gyg;:g§
[;/:l YourAssets and Liabiiities and Certain Statisticai (Form 106Dec) (Form 1220_1)

information (Form 1068um) m _ _ t
M Schedule NB (Form 106A/B) j Statemem°fF'na"°'a'Affa"S (Form 107) \:i Chapter 13 Caicuiation onour Disposabie income
~ §§ statement of intention for individuals Fiiing under (F°"“ 122¢'2)
iii schedule c (Form 106c) chepterr (Form 108)

w Appiication to Pay Fiiing Fee in installments (Form
103A)

'Q] Scheduie D(Form106D) li_/j Chapter7 Siatementonour CurrentMonthiy
I§'J Scheduie E/F (Form tosE/i=) '“°°me (F°'m122A'1) l:i Appllcation le l-iave chapter 7 Fiiing Fee Waived
@ Schedule G (Form 1066) m Statementof Exemption from Presumption of (F°'m1033)

y Abuse under § 707(b)(2) (Form 122A'1Supp) 1321 A list of names and addresses of ali creditors

121 Scheduie H (Form 106H) EZ] Chapter 7 Means Test Ca|culation (Form 122A_2) (cred/'tor or mailing matrix)
M Oiher FORMS 119 & 2800

Bankruptcy petition preparers m st sign and give their Sociai Security numbers if more than one bankruptcy petition preparer prepared the documents

  
       

     
 
   

  

 

 

to which this declaratio? ap~. < ~ signature and Sociai Security number of each preparer must be provided. 11 U.S.C. § 110.
' 1 4 _ ' 11 XXX-XX-XXXX Date January 10, 2019
' preparer or omcer, principai, Sociai Security number of person who signed MM/DD/YYYY

JANEEA LEN

Date January 10, 2019

Signature of bankruptcy petition preparer or officer, principai, Sociai Security number of person who signed MM/DD/YYYY
responsible person, or partner

 

 

Printed name

Offlciai Form 119 Bankruptcy Petition Preparer's Notice, Dec|aration, and Signature page 2

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stoo (Form 2800)(12/ls)

United States Bankruptcy Court
District of Nevada

BRANDON PAUL STORMER
111 re AMANDA N|COLE STORMER Case No.

 

Debtor(s) Chapter 7

DISCLOSURE OF COMPENSATION OF BANKRUPTCY PETI'I`ION PREPARER
[Must be filed with the petition if a bankruptcy petition preparer prepares the petition. 11 U.S.C. §110(]1)(2).]

l. Under ll U.S.C. § 110(h), l declare under penalty of perjury that I am not an attorney or employee of an attorney, that I
prepared or caused to be prepared one or more documents for filing by the above-named debtor(s) in connection with this
bankruptcy case, and that compensation paid to me within one year before the filing of the bankruptcy petition, or agreed to
be paid to me, for services rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
is as follows:

 

 

 

For document preparation services I have agreed to accept $ 200.00

Prior to the filing of this statement l have received $ 200.00

Balance Due____ » . l _ $ 0.00
2. l have prepare/d or caused to be prepared the following documents (itemize):

and provided the following services (iternize):

3. The source of the compensation paid to me was:
M Debtor [:] Other (specify):
4. The source of compensation to be paid to me is:

l§/] Debtor [:i Other (specify):

5. The foregoing is a complete statement of any agreement or arrangement for payment to me for preparation of the petition
filed by the debtor(s) in this bankruptcy case.

6. To my knowledge no other person has prepared for compensation a document for filing in connection with this bankruptcy
case except as listed below:

 

 

 

 

NAM § SOCIAL SECURITY NUMBER
\ ' § amy ` / XXX-XX-XXXX January 10, 2019
\ signature Sociai Security number of bankruptcy Date
\ petition preparer*
J NEE/Q,EN P.O. BOX 570422
LAS VEGAS, NEVADA 89157
Printed name and title, if any, of Address

Bankruptcy Petition Preparer

*If the bankruptcy petition preparer is not an individual, state the Social Security number of the ofticer, principal, responsible person
or partner of the bankruptcy petition preparer. (Required by ll U.S.C. § llO.)

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the F ederal Rules of Bankruptcy Procedure may
result in fines or imprisonment or both. I] U.S.C. § 110; 18 U.S.C. § 156.

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Fiii in this information to identify your case:
l center 1 BRANDON PAuL sToRlviER

 

 

` First Name Middie Name Last Name
l

iDebtor 2 AMANDA N|COLE STORMER

i (Spouse li, tiiing) First Name Niiddie Name Last Name

iUnited States Bankruptcy Court for the: DiSTR|CT OF NEVADA

 

l Case number
1 (`rf known)

 

l:l Check ifihis is an
amended filing

l
l
l

 

Oificiai Form 106Surn
Summary of Your Assets and Liabilities and Certain Statisticai information 12/15

 

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. Fi|| out ali of your schedules first; then complete the information on this form. lfyou are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

 

Your assets
Va|ue oiwhat you own

1. Schedule A/B: Property (Officiai Form 106A/B)

1a. Copy iine 55, Tota| real estate, from Scheduie A/B ................................................................................................ $ __________________________________________ 9;00
1b. Copy line 62, Total personal property, from Schedu|e A/B ..................................................................................... $ vi 3§579.01
10. Copy line 63, `l'otal ofall property on Schedule A/B ............................................................................................... $ 38,579.00

Summarize Your Liabilities

 

Your liabilities
Amount you owe

2. Schedule D.' Creditors Who Have C/aims Secured by Property (Of&cial Form 106D)

 

go copy the total you listed in column A, Amount ofc/e/m, at the bottom of the last page or Part 1 of Schedu/e D.,. 3 W__',W_.7,,,4..,`,,.5_(_’;§§;99,,
3. Schedu/e E/F.' Creditors Who Have Unsect/red C/al`ms (Ofuciai Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured ciaims) from line 6e of Schedu/e E/F ................................. $ 0‘00
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedu/e E/F ............................ $ 23,011_40
Your total liabilities $ 73,254_40

 

 

 

Part 3: Summarize Your income and Expenses

 

4. Schedu/e /: Your/ncome (Officiai Form 106l)
Copy your combined monthly income from line 12 of Schedu/el ................................................................................ $ 41047'60

5. Schedu/e J.' Your Expenses (Ofncia| Form 106J)
Copy your monthly expenses from line 220 of Schedu/e J .......................................................................... $ 41167'00

Answer These Questions for Administrative and Statisticai Records

 

6. Are you filing for bankruptcy under Chapters 7, 11,or13?
[] No. You have nothing to report on this part of the form. Check this box and submit this form to the court With your other schedules

l Yes
7. What kind of debt do you have?

- Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, familyl or
household purpose." 11 U.S.C. § 101(8). Fiii out lines B-Qg for statistical purposes 28 U.S.C. § 159.

[] Your debts are not primarily consumer debts. You have nothing to report on this part ofthe form. Check this box and submit this form to
the court with your other schedules.

Officiai Form 106Sum Summary of Your Assets and Liabilities and Certain Statisticai information page 1 of 2

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Case 19-10286-mkn

Debtor1 BRANDON PAUL sroRiviER
Debt<>t 2 AMANDA i\iicoLE sToRiviER

 

8A From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form

122A~1 Line11;OR,Form 1228 Line 11;OR, Form 1220~1 Line 14.

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

From Part 4 on Schedule E/F, copy the foilowing:

9a Domestic support obligations (Copy line 6a.)

9b. Ta)<es and certain other debts you owe the government (Copy line 6b.)

9c. Claims for death or personal injury while you Were intoxicated (Copy line 6c.)
9d. Student loans. (Copy line 61.)

9e. Obligations arising out of a separation agreement or divorce that you did not report as
priority claims (Copy line 69.)

91. Debts to pension or pront~sharing pians, and other similar debts (Copy line 6hr)

9g. Total. Add iines 9a through 91.

Official Form 1068um

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Case number (/'f known)

 

 

 

 

 

 

Summary of Your Assets and Liabilities and Certain Statisticai information

$ 5,167.78
Total claim

$ 0.00
$ 0.00
$ 0.00
$ 1 111 1 11 91019,
1 ,,,,,,,,,,,,,,,,,,,,,,,,,,, 9 ;991
*$ ,,Q,O,O

page 2 of 2

Best Case Bankruptcy

 

 

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Fiii in this information to identify your case and this filing:

 

§Debiofi BRANDON PAUL STORMER
l First Name Midd|e Name Lastl\iame
§Debtor 2 AMANDA N|COLE STORMER

 

United States Bankruptcy Court for the: DiSTR|CT OF NEVADA

 

 

ase number

 

iii cheoi< ifthie is en
amended nling

 

‘ (Spouse` it fliing) First Name Middle Name Last Na me §
l

 

Official Form 106A/B
SChedUle A/B! Property 12/15

 

 

in each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

m Describe Each Residence, Bui|ding, Land, or Other Reai Estate You Own or Have an interest in

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

- No. Go to Part 2.
[:i Yes. Where is the property?

m Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles you own that
someone else drives. if you lease a vehic|e, also report it on Schedu/e G.' Executory Contracts and Unexp/'red Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

 

 

 

 

 

 

U No
. Yes
3.1 f\/lake: CHEVROLET Who has an interest iri the property? Check one DO not deduct Secured C|aim$ .Or exemption$' Put
_____---_»~._-__~_ the amount ol any secured claims on Schedule D.'
i\/lodel: MALIBU ij Debtor 1 only Creditors Who Have Clalms Secured by Property.
Year:
~ZQBM--~_---~ m Debtor 2 amy Current value of the Current value of the
Approximate mileage: - Debior 1 and Debtor 2 Only entire property? portion you own?
Oihe" info"“ati°"i i:] Ai least one of the debtors and another
- Check if this is community property $15»554\00 $15,554-00
(see lnstructions)
3.2 i\/iake: JEEP Who has an interest in the property? Chect< one D° not deduct Secured C|aims .°r exemp"°"$‘ Pu{
~»_A~ ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ the amount of any secured claims on Scliedi//e D:
lviode|: LAT|TUDE l:i Debior 1 only Creditors Who Have C/aims Secured by Property.
Year:
log ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ m Debtm 2 Only Current value of the Current value of the
Al)pro><imaio mileage l oebior 1 and Debior 2 only entire property? portion you own?
Other informatio"f l:i At least one of the debtors and another
l Check if this is community property $10»816-00 $10,816.00
(see instructions)

 

 

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examp/es: Boats, trailers, motors, personal watercraft fishing vessels, snowmobiles, motorcycle accessories

- No
i:l Yes

Official Form 106A/B Schedu|e A/B: Property page 1
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Debtor1 BRANDON PAUL STORMER
Debtor 2 AMAN DA N|COLE STORMER Case number (ifl<now/l)

 

 

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
pages you have attached for Part 2. Write that number here ............................................................................. => $26'370'00

 

 

 

Describe Your Personal and Househoid items

Do you own or have any legal or equitable interest in any ofthe following items? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

 

6. Househoid goods and furnishings
Exam,oles: i\/laior appliances turniture, linens, china. kitchenware

[:i No
- Yes, Describe .....

 

[ivilsc HousEHoLD i=uRl\llTuRE l _§YQM,

 

 

 

§CH|LDRENS BEDROOlVl FURNITURE § $‘1,600.00

 

 

7. Electronics
Examp/es: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
including cell phones, cameras, media players, games

i:l No
- Yes. Describe .....

 

§3 TV 2 CELLPHONE31 LAPTOP l |PAD 2 TABLETS § $1,500.00

 

 

8. Collectibles of value
Exemp/es: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
other collections, memorabilia, collectibles

- No
l:l Yes. Describe .....

9, Equipment for sports and hobbies
Exemp/es.' Sports, photographic exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
musical instruments

. No
l:l Yes. Describe .....

10, Firearms
Exemp/es: Plstols, rifles, shotguns, ammunition, and related equipment

l No
i:l Yes. Describe .....

1 1. Clothes
Examples.' Everyday clothes, furs, leather coats, designer wear, shoes, accessories

[:i No
- Yes, Describe .....

 

chorHil\ie FoR FAiviil_Y | $600.00

 

 

12, Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, goid, silver

- No
[:l Yes. Describe.....

13. Non»farm animals
Examp/es.' Dogs, cats, birds, horses

. No
l:l Yes. Describe.....

Ofncial Form 106A/B Scheduie A/B: Property page 2
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Debtor1 BRANDON PAUL STORMER
Debior 2 AMANDA N|COLE STORMER Case number (if/rnoW/))

 

14. Any other personal and household items you did not already list, including any health aids you did not list
- No

i:l Yes. Give specific information .....

 

15, Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

 

 

 

 

for Part 3. Write that number here .............................................................................. __”__ $4»§9?£9_
m Describe Your Financiai Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the

portion you own?
Do not deduct secured
claims or exemptions

16. Cash
Examples.' Money you have in your wallet, in your home, in a safe deposit bo)<, and on hand when you file your petition

[] No
- Yes ................................................................................................................

Cash $50.00

 

17. Deposits of money
Examples.‘ Checking, savings or other financial accounts; certiHcates ofdeposit; shares in credit unions, brokerage houses, and other similar
institutions lfyou have multiple accounts with the same institution, list each,
ij No

- Yes ______________________ institution name:

17.1. CHECK|NG CHASE BANK $9.00

 

 

18. Bonds, mutual funds, or publicly traded stocks
Exarnp/es.' Bond funds, investment accounts with brokerage firms, money market accounts

-No

l:] Yes .................. institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

-No

i:l Yes. Give specific information about them ...................
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiab/e instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negot/'ab/e instruments are those you cannot transfer to someone by signing or delivering them.

-No

i:l Yes. Give specific information about them
issuer name:

21. Retirement or pension accounts
Examp/es.' interests in lRA, ER|SA, i<eogh, 40l(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

UNo

. Yes. List each account separately
Type of account: institution name:

401K FiDELlTY F|NANCIAL $7,000.00

 

22, Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examp/es: Agreements with \and|ords, prepaid rent, public utilities (electric, gas, water), telecommunications companies or others

- No

ij Yes _____________________ institution name or individua|:
Ofncial Form 106A/B Scheduie A/B: Property page 3
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Debtor1 BRANDON PAUL STORMER
Debtor 2 AMANDA N|COLE STORMER Case number (//i<nown)

 

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
. No
i:| Yes _____________ issuer name and description

24. interests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(i), 529A(b), and 529(b)(1).

- No
[_'_`] Yes _____________ institution name and description Separately tile the records of any interesis.il U.S.C, § 52i(c);

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
- No

l:i Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: internet domain namesl websites, proceeds from royalties and licensing agreements

. No
i:] Yes. Give specinc information about them...

27, Licenses, franchises, and other general intangibles
Examp/es: Building permits, exclusive licenses cooperative association holdings, liquor licenses, professional licenses

-i\lo

[:l Yes. Give specinc information about them...

Nioney or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions

28. Tax refunds owed to you
l No
i:i Yes. Give specinc information about them, including whether you already filed the returns and the tax years .......

29. Family support
Examp/es.' Pasi due or lump sum alimony, spousal support, child support, maintenance, divorce settlementl property settlement

l No
l:| Yes. Give speci&c information ......

30. Other amounts someone owes you
Examp/es,' Unpaid Wages, disability insurance payments disability benefits sick pay, vacation pay, workers` compensation, Sociai Security
benefits; unpaid loans you made to someone else

l No
l:i Yes. Give specific information..

31. interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (i-lSA); credit` homeowner's, or renter's insurance

.No

L-.] Yes. Name the insurance company of each policy and list its value
Company name: Benenciary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died.

l No
i:] Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

l No
[:l Yes. Describe each claim .........

Ofncia| Form iO6A/B Scheduie A/B: Property page 4
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Debtor 1 BRANDON PAUL STORMER
Debtor 2 AMANDA N|COLE STORMER Case number (i/known)

 

34_ Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
l No

l:l Yes. Describe each claim .........

35, Any financial assets you did not already list
- No
[_'.l Yes. Give specitic information..

 

36. Add the dollar value of ali of your entries from Part 4, including any entries for pages you have attached

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

for Part 4. Write that number here ..................................................................................................................... $7»(_)59'00
m Describe Any Business-Related Property You Own or Have an interest ln. List any real estate in Part1.
37. Do you own or have any legal or equitable interest in any business-related property?
l No. co to Part 6.
m Yes. Go to line 38.
Part 6: Describe Any Farm- and Commerciai Fishing-Reiated Property You Own or Have an interest ln.
if you own or have an interest in farmiand, list it in Part 1.
46, Do you own or have any legal or equitable interest in any farm- or commercial fishing~reiated property?
l No. so io Paii 7.
m Yes. Go lo line 47.
Describe Aii Property You Own or Have an interest in That You Did Not List Above
53. Do you have other property of any kind you did not already iist?
Exemp/es: Season tickeis, country club membership
- No
l:l Yes. Give specific information .........
54. Add the dollar value of all of your entries from Part 7. Write that number here .................................... $0_00
List the rotais or Each Part or this Form
55. Part 1: Totai real estate, line 2 ...................................................................................................................... $(_);(L)*
56. Part 2: Totai vehicles, line 5 _______________ § 426!43_19_,_99*_
57. Part 3: Totai personal and household items, line 15 $4!_5_00_00
56. Part 4: Totai financial assets, line 36 $7,059_00
59. Part 5: Totai business-related property, line 45 $0_00
60. Part 6: Totai farm- and fishing-related property, line 52 $()_00
614 Part 7: Totai other property riot |isted, line 54 + $O_OO
62. Totai personal property. Add lines 56 through 61... $37 929,00 COpy personal property total $37!929.00
63. Totai of all property on Schedule A/B. Add line 55 + line 62 $37,929_00
Ofncia| Form lO€A/B Schedule A/B: Property page 5

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Fiii in this information to identify your case:

 

 

§DebiOrl BRANDON PAUL STORMER
§ First Name Middle Name Last Name
;DebiOr 2 AMANDA N|COLE STORMER

(Spouse if, iiiing) First Name Middle Name Last Name

 

 

§ Case number
§ (if known)

 

i:] Check if this is an

i
United States Bankruptcy Court for the: DiSTR|CT OF NEVADA
§ amended Hling

 

Official Form 106C
Schedule C: The Property You Ciaim as Exempt 4/16

 

Be as complete and accurate as possible lftwo married people are ming together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B.' Property (Officiai Form 106A/B) as your source, list the property that you claim as exempt. if more space is
needed, nil out and attach to this page as many copies ofPart 2.' Add/tiona/ Page as necessary On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Aiternativeiy, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory iimit. Some exemptions--such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value ofthe property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

identify the Property You Claim as Exempt
i. Which set of exemptions are you claiming? Check one only, even ifyour spouse is H/ing With you,
l You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
l:] You are claiming federal exemptions 11 U.S_C, § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information beiow.

Brief description of the property and line on Current value of the Arnount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Schedule A/B
EV lB ev. Rev. S . 21 .090 1
2018 CH ROLET MA'~ U $15,554.00 l $0.00 N fat § i )if)

Line from Schedule A/B: 3.1

m 100% offair market value, up to
any applicable statutory limit

 

2014 JEEP LATiTUDE $10 816_00 . $0_00 Nev. Rev. Stat. § 21.090(1)(f)
Line from Schedule A/B: 3.2 _--~’_- __--_----_
m 100% of fair market value, up to
any applicable statutory limit

 

lVllSC HOUSEHOLD FURN|TU RE $800_00 - $800.00 Nev. Rev. Stat. § 21.090(1)(b)
Line from Schedule A/B: 6.1 _--~_ _--~_--_
[:] 100% of fair market value, up to
any applicable statutory limit

 

CHlLDRENS BEDROOi\/i FURNlTURE 51 600.00 - $800'00 Nev. Rev. Stat. § 21.090(1)(b)
Line from Schedule A/B; 6.2 ___L»»-_ __...____.____._~

m 100% of fair market value, up to
any applicable statutory limit

 

3 TV 2 CELLPHONES 1 LAPTOPi $1 500'00 . $1 500_00 Nev. Rev. Stat. § 21.090(1)(b)
|PAD 2 TABLETS _--’_ _-~_"'--_
Line from Schedule A/B: 7.1 m 100% of fair market value, up to

any applicable statutory limit

 

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of2
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Case 19-10286-mkn

Debior1 BRANDON PAUL STORMER
Debtor? AMANDA N|COLE STORMER

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Case number (il known)

 

Brief description of the property and line on
Schedule A/B that lists this property

Current value of the
portion you own

Copy the value from

Amount of the exemption you claim

Check only one box for each exemption

 

Specific laws that allow exemption

 

 

 

Schedule A/B
CLOTHlNG FOR FAiVllLY $600 00 l $600_00 Nev. Rev. Stat. § 21.090(1)(b)
Line from Schedule A/B: 11,1 ' __------_
m 100% of fair market value, up to
any applicable statutory limit
Cash $50_00 - $50_00 N€V. RGV. Stat. § 21.090(1)(2)
Line from Schedule A/B: 16.1 -------__-
E 100% of fair market value, up to
any applicable statutory limit
CHECK|NG: CHASE BANK 39 00 - $9_00 Nev. Rev. Stat. § 21.090(1)(2)
Line from Schedule A/B; 17.1 ' _--------~_
m 100% of fair market value, up to
any applicable statutory limit
401K: FiDELlTY FiNANCiAL $7 000_00 - $7’000_00 Nev. Rev. Stat. § 21.090(1)(r)

Line from Schedule A/B: 21 .1

m 100% of fair market value, up to
any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

l:l Yes. Did you acquire the property covered by the exemption within 1,215 days before you med this case?

l No
l:l No
l'_`l Yes

Official Form 1060

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Schedule C: The Property You Ciaim as Exempt

page 2 of 2
Best Case Bankruptcy

 

 

Case 19-10286-mkn

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Fiii in this information to identify your case:

 

 

Debtor1 BRANDON PAUL STORMER
First Name Middle Name Last Name

§Debtor 2 AMANDA N|COLE STORMER
§ (Spouse if, filing) Flrst Name Middle Name Last Name

i
i
i

t United States Bankruptcy Court for the: DiSTR|CT OF NEVADA

 

l
l
§ Case number
§ (if known)

Official Form 106D

 

Schedule D: Creditors Who Have C|aims Secured by Property

i'_`l Check ifthis is an

amended ming

12/15

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct information if more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this forln. On the top of any additional pages, write your name and case

number (if known).

1. Do any creditors have claims secured by your property?

l:l i\lo. Check this box and submit this form to the court With your other schedules You have nothing else to report on this form.

l Yes. Fiii in all ofthe information below.

m List Ali Secured Ciaims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4 . , . . _ Column A Column B Column C
2. List all secured cialms. il a creditor has lnore than one secured clalm, list the creditor separately
for each ciairn. if more than one creditor has a particular claiml list the other creditors in Part 2. As Amount of claim Value of collateral Unsecured
inucll as possible, list the claims iii alphabetical order according lo the creditor's name. Do nol deducl the that supports this portion
value of coilateral. claim if any
21 GREATER NEVADA
' CRE[)|T Describe the property that secures the ciaim: $12,984.00 $10,816.00 $2,168.00
C'ed"°f`$ Name 2014 JEEP LATlTuDE
451 EAGLE STAT|ON
LANE . As of the date you fiie, the claim is: Check ali that
Carson City, NV appry§
89701'4720 [:l Coniingent
Number, Street, City, State & Zip Code m Unliquidaf€d
m Dispufed
Who owes the debt? Check one. Nature of lien, Check ali thai apply
l:l Debtor 1 only m An agreement you made (such as mortgage or secured
m Debtor 2 only ear |°an)
- Debtor 1 and Debtor 2 Only l:l Stalulory lien (such as tax lien, mechanic`s lien)
g Al least one of the debtors and another m Judgment lien from a lawsuit
l check if this claim relates to a l other including a right le arisen PurChaSe MO"€V Security
community debt
Date debt was incurred 1`0[043/~2018 ```````` Last 4 digits of account number N_i¢* ''''''
2 2 NAVY FEDERAL CREDlT
` UN|ON Describe the property that secures the ciaim: $35,459.00 $15,554.00 $20,905.00
C'ed“°"$ Name 2018 CHEVROLET iViALl BU
820 FOLLlN LANE
As of the date ou fiie, the claim is: C ll th
Po# 143806 app,y. y “e°“ a al
Vienna, VA 22180 ij Comingem
Number, Streetl City, State & Zip Code m Uniiquidaied
l:l Disputed
Who owes the debt? Check one. Nature of lien. Check ali flial appiy.
l Deb10r1 Only m An agreement you made (such as mortgage or secured
i:] Debtor 2 only ear loew
m Debtor 1 and Debtor 2 only m Siatutoly lien (such as tax lien, mechanic's lien)
l:i Al least one of the debtors and another I:i Judgmenl lien from a lawsuit
l check ifthis claim relates to a l other (ineiudirig a right lo orisel) PU"ChaSG MO“€V Security
community debt
Official Form 106D Schedule D: Creditors Who Have Ciaims Secured by Property page 1 of 2

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Best Case Bankruptcy

 

 

 

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Debtor1 BRANDON PAuL sToRlviER Case number (‘fk"°W")
First Name Middle Name Last Name
Dethf 2 AMANDA N|COLE STORMER
First Name Middle Name Last Name
Date debt was incurred 01£19/2Q18 Last 4 digits of account number 2441 _______________________________
§:§ pROGRESS|VE LEAS|NG Describe the property that secures the claims $BO0.00 $1,600.00 $O-oo
Creditors Name CHlLDRENS BEDROO|V\
FURN|TURE
P.G.BOX 413110

 

 

 

- As of the date ou filel the claim is: ch il ih
Sait Lake Clty, UT apply y ecka al

84141-3110 m Contingenl

 

Number, street ciiy, state & ip code I:] Un|iquidaied
l:l Dispufed
Who owes the debt? Check one. Nature of lien. Check all that apply.
l:l Debtor 1 only l:] An agreement you made (such as mortgage or secured
. Debtor 2 only ear §Oan)
l:§ Debtor 1 and Debtor 2 only l:l Staiutory lien (such as tax lien, mechanic's lien)

m Al least one of tile debtors and another m Judgment lien from a lawsuit
- Check if this claim relates to a l Other (including a right to offsei) LEASE TO OWN

 

community debt

 

 

 

Date debt was incurred __r h A¥i__ w Last 4 digits of account number _W_m_`r
Add the dollar value of your entries in Column A on this page. Write that number here: $50,243,00
if this is the last page of your form, add the dollar value totals from ali pages,
Write that number here: $50’243'00

 

 

 

List others to Be Notirier:l for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part1. For exampie, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Simiiarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. if you do not have additional persons to be notified for any

debts in Part 1, do not fill out or submit this page.

Official Form 1060 Additional Page of Schedule D: Creditors Who Have Ciaims Secured by Property

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page 2 of2

Best Case Bankruptcy

 

 

 

 

 

Case 19-10286-mkn

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Fiii in this information to identify your case:

 

 

Debtor1 BRANDON PAuL sToRli/lER

j First Name Middle Name Last Name §
DeblOi 2 AMANDA N|COLE STORMER
(Spouse if, iiiihg) First Name Middle Name

DiSTR|CT OF NEVADA

 

Case number
(if known)

 

[] Check ifthis is an

l

§ United States Bankruptcy Court for the:

l

§

l

§ amended filing

Last Name
l
l
l
l
l

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Ciaims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRiORlTY claims and Part 2 for creditors with NONPR|OR|TY ciaims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Aiso list executory contracts on Schedule AlB: Property (Officiai Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired i_eases (Officiai Form 10GG). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Ciaims Secured by Property. lf more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. if you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).

l_ist Ail or Your PRloRlTY unsecured claims

1. Do any creditors have priority unsecured claims against you?

 

- Nor Go to Part 2.

ij Yes.
fm List All or Your Nol\lPRloRlTY unsecured claims

3. Do any creditors have nonpriority unsecured claims against you?
m No, You have nothing fo report in this part. Submit this form to the court with your other schedules

- Yes.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. if a creditor has more than one nonpriority
unsecured clalm, list tile creditor separately for each claim. For each claim iisted, ideilllly what type of claim it is. Do not list claims already included in Part 1. ll more
than one creditor holds a particular claim, list the other creditors in Part 3.ll you have more than three ilonpriority unsecured claims lili out the Continuation Page of

 

 

 

 

 

 

 

 

 

Part 2.
Totai claim
ARMY/AiR FORCE EXCHANGE Last 4 digits Of account number 2014 $681.00
Nonprion'ty Creditor's Name
P,O_ B()X 650410 When was the debt incurred?
Dalias, TX 75265-0410
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
§ Debtor 1 only i:l Contingenl
Debtor 2 Only [:] Unliquidated
. Debtor 1 and Debtor 2 only l:l Dispuled
m Al least one of the debtors and another Type of NONPRlORiT¥ unsecured claims
- Check if this claim is for a community m Sludem loans
debt El Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
l No m Debls lo pension or profit-sharing plans and other similar debts
[:l Yes l Oiher_ Specify COLLECT|ON
Official Form 106 E/F Schedule ElF: Creditors Who Have Unsecured Ciaims Page 1 of 10

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53130 Best Case Bankruptcy

Debtor 1

Case 19-10286-ml<n
BRANDoN pAuL sToRiviER

Debtor 2 AMANDA N|COLE STORMER

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Case number (ir known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§4.2 ATT D|RECTV Last 4 digits of account number $2 92()_4()
Nonpriority Creditor's Name
P_O_BO)( 5371()4 When was the debt incurred?
Attanta, GA 30353
Number Street City State Z|p Code As of the date you fite, the claim is: Check all that apply
Who incurred the debt? Check one.
[] o 1
n ebtor Only l:] Conlingent
D bt 2 |
e °' on y lll unliquidated
l Debtor1 and Debtor 2 only m Disputed
m At least one of the debtors and another Type of NONPR|OR|TY unsecured claim:
l Check if this claim is for a community m Stude"t loans
debt m Ob|igations arising out ot a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO i:i Debts to pension or protit~sharirlg plans, and other similar debts
§4.3 CAP|TAL ONE Last 4 digits of account number $656_()0
Nonpriority Creditor's Name
CAP|TAL ONE When was the debt incurred?
P.O. BOX 30281
Salt Lake City, UT 84130-0281
Number Street City State le Code As of the date you fite, the claim is: Check all that apply
Who incurred the debt? Check one.
El
Debtor 1 Only m Contingent
. Debtor 2 °“‘Y l:] unliquidated
m Debtor1 and Debtor 2 only m Disputed
m At least one ofthe debtors and another Type of NONPR|OR|TY unsecured claim:
- Check if this claim is for a community m Stude"l loans
debt i:l Obligations arising out ol a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
. NO m Debts to pension or protit~sharing plans, and other similar debts
i:] Yes . ther_ Specify CRED|T CARD
§ 4.4 CHECK C|TY Last 4 digits of account number M___ ________ w _»F__$§OO_QO_
Nonpriority Creditor’s Name
CHECK C|TY When was the debt incurred?
PO BOX 35227
Las Vegas, NV 89133
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
§ Debtor1 Only l:l Contingent
Deb‘°’ 2 °"'V l:l unliquidated
- Debtor 1 and Debtor 2 only [:] Dispu§ed
ij At least one of the debtors and another Type of NONPRlORlTY unsecured ctaim:
l Check if this claim is for a community m Sfude"‘ loans
debt m Ob|igations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No i.:l Det)ts to pension or profit-sharing plans, and other similar debts
i:] Yes - Other_ Specify COLLECT|ON
Official Form 106 E/F Schedule Ele Creditors Who Have Unsecured Clailns Page 2 of 10
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Debtor 1

Case 19-10286-ml<n
BRANDON PAuL sroRiviER

Debtor 2 AMANDA N|COLE STORMER

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Case number (ir knewn)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§4.5 COX COMN|UN|CAT|ONS Last 4 digits of account number $448_00
Nonpriority Creditor's Name
CO)( CON\MUN|CAT|ONS When wasthe debt incurred?
PO BOX 79175
Phoenix, AZ 85062
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
m Debtor1 only m Comingem
l Debtor 2 Only i:] Unliquidated
i:l Debtor 1 and Debtor 2 only [] Disputed
l:l At least one of the debtors and another Type of NONPR|ORlTY unsecured clalm:
- Check if this claim is for a community m S“'dem 'oaos
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO [:i Debls to pension or profit-sharing plans, and other similar debts
l:] Yes - th@r_ Speciry COLLECTIONS
§ 4.6 COX COMMUN|CAT|ONS Last 4 digits of account number MM__ `_ ______ m __§25009
Nonpriority Creditor's Name
CO)( COM|\/|UN|CAT|ONS When was the debt incurred?
PO BOX 79175
Phoenix, AZ 85062
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only [:] Con\ingem
m Debtor 2 Only l:l unliquidated
i:] Debtor 1 and Debtor 2 only [:} Disputed
i:i At least one of the debtors and another Type of NONPR|ORlTY unsecured claim:
. Check if this claim is for a community m S‘uoom loans
debt i:] Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO l:l Debts to pension or profit-sharing plans, and other similar debts
ij Yes . when Speciry COLLECTION
l4_7 DESERT RAD[OLOG|ST Last 4 digits of account number v $560-00
Nonpriority Creditor's Name
[)E_SERT RAD|OLOG|ST When was the debt incurred?
PO BOX 3057
lndianapo|is, lN 46206
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one,
[[:]J Debtor 1 amy [:l Contingent
Debm 2 On\y m Unliquidated
. Debtor1 and Debtor 2 only [_'_] Disputed
i:] At least one of the debtors and another Type of NONPR|ORlTY unsecured claim:
. Check if this claim is for a community m Siudo"t loans
debt l:l Obligations arising out ofa separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
. ND L_.l Debls to pension or profit-sharing plans, and other similar debts
l:i Yes - O\her, Specify MED|CAL BiLL
Official Form 106 EIF Schedule ElF: Creditors Who Have Unsecured Ciaims Page 3 of 10
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Debtor 1

Case 19-10286-ml<n
BRANDoi\l PAul. sToRi\/iER

Debtor 2 AMANDA N|COLE STORMER

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Case number (ii kndwn)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§ 4.8 F|_ORENCE J,t\|\/|[-'_RSONl |\/jD Last 4 digits of account number $419_()()
Nonpriority Creditor's Name
5281 S EASTERN AVE When was the debt incurred?
Las Vegas, NV 89119
Number Street City State Z|p Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
l:l Debtor 1 only l:] Contingent
l oebler 2 only [J unliquidated
l:l Debtor1 and Debtor 2 only m Disputed
l:] At least one ot the debtors and another Type of NONPRlORlTY unsecured olalml
l:l Check if this claim is for a community l:] Sl“donl loans
debt i:.l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NQ [:] Debls to pension or profit-sharing plans, and other similar debts
l:i Yes - other_ Specify lVlEDlCAL BlLL
§:1.9 § GOOD N|GHT PE[)|ATR|CS Last4 digits of account number $387_0()
Nonpriority Creditor's Name
2551 N GREEN VAL[_EY PKWY When was the debt incurred?
Henderson, NV 89014
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
l:l
m Debtor 1 Only l:.] Contingent
Debl°' 2 °"ly El unliquidated
. Debtor1 and Debtor 2 only |:] Disputed
[:] Al least one of the debtors and another Type of NONPR|ORlTY unsecured claim:
- Check if this claim is for a community l:l Sl"oenl loans
debt l:i Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO l:l Debts to pension or protit~sharing plans, and other similar debts
m Y€S - thef' Specify MED'CAL BH...L
4.1
0 KOHLS PAYMENT CENTER Last 4 digits of account number $500~00
Nonpriority Creditor's Name
P_()_ BQ)( 30510 When was the debt incurred?
Los Angeles, CA 90030-0510
Number Street City State Z|p Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
[]
m Deblm 1 only l:l Contingent
Debl‘" 2 °"ly El unliquidated
. Debtor 1 and Debtor 2 only [] Disputed
i:] At least one of the debtors and another Type of NONPR|QR|TY unsecured claim:
l Check if this claim is for a community l:] Sl“oenl loans
debt [:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No l:l Debls to pension or profit~sharing plans, and other similar debts
m Yes - Oiher. Spec;fy COLLECTION
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Ciaims Page 4 of 10

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Case 19-10286-ml<n

Debtor1 BRANDON PAUL STORMER
Debtor 2 AMANDA N|COLE STORMER

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Case number (ii known)

 

 

‘1"1 MiLiTARY cRi-:-oir sERvicE

 

 

 

Nonpriority Creditor's Name

1150 E LlTTLE CREEK RD
Norfolk, VA 23518

 

Number Street City State le Code
Who incurred the debt? Check one.

i:] Debtor 1 only

l Debtor 2 only

m Debtor 1 and Debtor 2 only

i:] At least one of the debtors and another

- Check if this claim is for a community
debt
ls the claim subject to offset?

- No
i:] Yes

 

Last 4 digits of account number $2,390.00

When was the debt incurred? 12/20/2015

 

As of the date you file, the claim is: Check all that apply

i:i Contingent
i:i Unllquidated

L_.] Disputed
Type of NONPR|ORlTY unsecured claim:

m Student loans

L_.] Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

i:i Debts to pension or profit-sharing plans. and other similar debts

- Other_ gpecify COLLECTION

 

 

 

 

 

2 NllLlTARY STAR

 

Nonpriority Creditor's Name

NllLlTARY STAR

3911 S. WALTON WALKER BLVD.
Dallas, TX 75236

 

Number Street City State Z|p Code
Who incurred the debt? Check one.

- Debtor 1 only

i__.i Debtor 2 only

i:i Debtor 1 and Debtor 2 only

m Al least one of the debtors and another

- Check if this claim is for a community
debt
ls the claim subject to offset?

. No
i:i Yes

Last 4 digits of account number $1,1 50.00

When was the debt incurred? 08/05/2014

 

As of the date you file, the claim is: Check all that apply

m Contingent

l:l unliquidated

i:] Disputed

Type of NONPR|ORlTY unsecured claim:
i:i Student loans

i:i Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

i:i Debts lo pension or profit-sharing plans, and other similar debts

. Othe¢_ Specify COLLECTION

 

 

 

 

 

3' MONEYTREE

 

Nonpriority Creditor's Name
MONEYTREE

PO BOX 58363
Seattle, WA 98138

 

Number Street City State Z|p Code
Who incurred the debt? Check one.

- Debtor1 only
m Debtor 2 only
i:] Debtor 1 and Debtor 2 only

i:i At least one of the debtors and another

l Check if this claim is for a community

Last 4 digits of account number $600.00*

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

i:i Contingent
m Unliquidated

i:i Disputed
Type of NONPR|ORlTY unsecured claim:

i:] Student loans

 

 

debt i:] Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l No m Debts to pension or profit-sharing plans` and other similar debts
i:i Yes l Oiher, Specify COLLECT\ON
Official Form 106 E/F Schedule ElF: Creditors Who Have Unsecured Ciaims Page 5 of 10

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Debtor 1

Case 19-10286-ml<n
BRANDON PAuL sToRivtER

D€bi€>r 2 AMANDA N|COLE STORMER

 

 

 

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Case number (ii known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.1 lVlONTEClTO PO|NTE
4 APARTMENTS Last 4 digits of account number $1,245.00
Nonpriority Creditor‘s Name
9745 GRAND TETON DR When was the debt incurred?
Las Vegas, NV 89166
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
lI]
m Debtor l only n Contingent
Debtor 2 0an l:l unliquidated
. Debtor 1 and Debtor 2 only m Disputed
i:] At least one ofthe debtors and another type of NONPR|ORlTY unsecured claim:
- Check if this claim is for a community l:l Snldonl loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l NO m Debls to pension or profit-sharing pians. and other similar debts
ij Yes - other_ gpecify RENT ARREARS
4.1
5 NAVY FEDERAL CRED|T UN|ON Last 4 digits of account number $7,985.00
Nonpriority Creditor‘s Name
0 ONE SECUR|TY PLAZA When was the debt incurred? 1 1/08/2017
Nlerrifield, VA 22119
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
lI]
m Debtor 1 Only m Contingent
Deb'°‘ 2 °"'Y l:] unliquidated
- Debtor1 and Debtor 2 only l:] Disputed
i:l Al least one of the debtors and another Type of NONPR|ORlTY unsecured claim:
. Check if this claim is for a community l:l Sludenl loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l NO m Debts to pension or profit-sharing plans, and other similar debts
l:i Yes - Other, Specify CRED|T CARD
4.1
6 PEDlATRiX iV|EDlCAL GROUP Last4 digits of account number 8952 $279-00
Nonpriority Creditor's Name
P,()_ BOX 15278 When was the debt incurred?
Wilmingtonl DE 19850
Number Street City State Z|p Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
i:l Debtor1 only m Contingent
l Debl°' 2 °"'Y l:l unliquidated
[:i Debtor 1 and Debtor 2 only [] Disputed
l:l At least one of the debtors and another Type of NONPR|ORlTY unsecured claim:
- Check if this claim is for a community l:l Sluoenl loans
debt l:i Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO m Debls to pension or profit-sharing plans, and other similar debts
m Yes - owen gpecify MEDlCAL BlLL
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Ciaims Page 6 of 10
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Debtor 1

Case 19-10286-ml<n
BRANDON PAui_ sToRivtER

Debtor 2 AMANDA N|COLE STORMER

 

 

4.1

 

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Case number (if knewn)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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7 PROGRESSIVE LEASlNG Last 4 digits of account number $650.00
Nonpriority Creditor's Name
256 W DATA DR|VE When was the debt incurred?
Draper, UT 84020
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only m Con"ngem
l:] Debtor 2 Only lI] unliquidated
l:i Debtor 1 and Debtor 2 only [] Disputed
i:] At least one of the debtors and another Type of NONFRlORlTY unsecured claim:
l Check if this claim is for a community cl Sllldonl loans
debt i:i Obligations arising out ol a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
. NO m Debls to pension or profit-sharing plans. and other similar debts
[:l Yes l Other_ Specify COLLECT|ON
4.1
8 RAPlD CASH Last 4 digits of account number $600.00
Nonpriority Creditor's Name
RAP|D CASH When was the debt incurred?
5676 S EASTERN AVE
Las Vegas, NV 89119
Number Street City State Z|p Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
[Il
m Debtor1 only m Commgent
Debtor 2 0an i:i Unliquidated
l Debtor1 and Debtor 2 only [_'] Dispmed
l:i At least one of the debtors and another Type of NONPR|ORlTY unsecured claim:
- Check if this claim is for a community l:l Sluoonl loans
debt [:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
. NO i:l Debls to pension or profit-sharing plans, and other similar debts
m Yes - Other, Specify COLLECT\ON
4.1 SHADOW ElVlERGENCY
9 PHYS|C|ANS Last 4 digits of account number 1765 $59-00
Nonpriority Creditor's Name
P_O_ 390915 When was the debt incurred? 10/05/2018
Minneapolis, thN 55479
Number Street City State Z|p Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one,
lI|
m Deblor l only m Contingent
Debl°' 2 °"'y [] unliquidated
. Debtor1 and Debtor 2 only |:] Disputed
i:] At least one of the debtors and another Type of NONPR|ORlTY unsecured claim:
. Check if this claim is for a community l:l Slodsnl loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No cl Debls to pension or proiil-sharing plansl and other similar debts
l:i Yes - Other. Speci{y MEDICAL BlLL
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Ciaims Page 7 of 10

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Debtor1 BRANDON PAUL STORMER
Debtor 2 AMANDA N|COLE STORMER Case number (ilknown)
4.2 ST ROSE DON|lNlCAN HOSP|TAL
0 SlENA CAMPUS Last 4 digits of account number 0088 $89.00
Nonpriority Creditor's Name
ST ROSE DOMlNlCAN HOSP|TAL When WaS the debt incurred?
SlE
3001 SA|NT ROSE PARKWAY
Henderson, NV 89052
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
§ Deblor 1 0an l:i Contingent
Debl°' z °“'y El unliquidated
- Debtor 1 and Debtor 2 only [] Disputed
i:l At least one of the debtors and another Type of NONPR|ORlTY unsecured claim:
- Check if this claim is for a community m Slooenl loans
debt m Obligations arising oth of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO [:] Debls to pension or profit-sharing plans, and other similar debts
ij Yes l Other_ S,,eciry llechAL Bll_l_
4.2
1 US BANK Last 4 digits of account number 6237 $543-00
Nonpriority Creditor's Name
Cb D|SpUTES When was the debt incurred? 05/01/2014
P.O. BOX 108

Saint Louis, l\/lO 63166-0108

 

Number Street City State Z|p Code
Who incurred the debt? Check one.

i:i Debtor1 only

- Debtor 2 only

m Debtor 1 and Debtor 2 only

l:i At least one of the debtors and another

- Check if this claim is for a community
debt
ls the claim subject to offset?

' No
m Yes

As of the date you file, the claim is: Check all that apply

m Contingent
El unliquidated

Ei Disputed
Type of NONPR|ORlTY unsecured claim:

l:i Student loans

l:i Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

l:] Debls to pension or profit-sharing plans, and other similar debts

- Oth@r_ Specify CRED|T CARD

 

 

 

 

m List others to Be Netilied About a Debt Thal You Aiready Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Simiiarly, if you
have lnore than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. lf you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

Name and Address

CONVERGENT OUTSOURClNG
800 SW 39TH ST

Renton, WA 98057

On which entry in Part 1 or Part 2 did you list the original creditor?
Line § el (checi< one): ij Part i: creditors With Prierity unsecured claims

- Part 21 Creditors with Nonpriority Unsecured Ciaims

Last 4 digits of account number

 

Name and Address

DEBT RECOVERY SOLUTlONS
900 MERCHANTS CONCOURSE
SU|TE LL 11

Westbury, NY 11590

On which entry in Part 1 or Part 2 did you list the original creditol’?
Line 4.19 of (Check one).' i:i Part 1: Creditors with Priority Unsecured Ciaims

- Part 2: Creditors with Nonpriority Unsecured Ciaims

Last 4 digits ot' account number

 

Name and Address

GRANT & WEBER

5586 S FORT APACHE RD STE 110
Las Vegas, NV 89148

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.20 of (Check one).‘ m Part 1; Creditors with Priority Unsecured Ciaims

- Part 2: Creditors with Nonpriority Unsecured Ciaims

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Ciaims
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Best Case Bankruptcy

Case 19-10286-ml<n

Debtor1 BRANDON PAUL STORMER
Debtor 2 AMANDA N|COLE STORMER

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Case number (ii knewn)

 

 

Last 4 digits of account number

 

Name and Address

H P SEARS CO. lNC.

2000 18TH ST

Bakersfield, CA 93301-4292

On Which entry in Part 1 or Part 2 did you list the original creditor?
Line l_l._9_ of (C/iec/< one).' i:l Part 1: Creditors with Priority Unsecured Ciaims

- Part 2: Creditors with Nonpriority Unsecured Ciaims

Last 4 digits of account number

 

Name and Address

l C SYSTElVl lNC

l C SYSTEN| |NC

PO BOX 64378

Saint Paul, lVlN 55164

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.16 of (Check one).' g Part 1: Creditors with Priorily Unsecured Ciaims

- Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address

NATlONAL CRED|T SYSTEl\/lS
3750 NATURALLY DRESH BLVD
Atlanta, GA 30349

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.14 of (Check one).' l:l Part 1: Creditors with Priority Unsecured Ciaims

- Part 22 Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address

PLUSFOUR lNC.
PLUSFOUR lNC.

6345 S PECOS RD STE 212
Las Vegas, NV 89120

On which entry in Part 1 or Part 2 did you list the original creditor?
Line Q._B_oi (Check one).' m Part 1: Creditors with Priority Unsecured Ciaims

. Part 2; Creditors with Nonpriority Unsecured Ciaims

Last 4 digits of account number

 

Name and Address

PLUSFOUR lNC.
PLUSFOUR lNC.

6345 S PECOS RD STE 212
Las Vegas, NV 89120

On which entry in Part 1 or Part 2 did you list the original creditor?
Line _4_.1 of (Check one),' i:] Part 11 Creditors with Priority Unsecured Ciaims

. Part 2: Creditors With Nonpriority Unsecured Ciaims

Last 4 digits ot account number

 

Name and Address

PORTFOL|O RECOVERY
PORTFOL|O RECOVERY

140 CORPORATE BL STE 100
Norfolk, VA 23502

On Which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.3 oi (Check one): [:i Part 1: Creditors with Priority Unsecured Ciaims

- Part 2: Creditors with Nonpriority Unsecured Ciaims

Last 4 digits of account number

 

m Add the Amounts for Each Type of Unsecured Ciaim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each

type of unsecured claim.

 

 

 

 

 

 

 

 

 

 

Totai C|aim
6a. Domestic support obligations Ga. $ 0.00
Totai
claims
from Part1 Gb. Taxes and certain other debts you owe the government 6b. $ 0_00
60. Ciaims for death or personal injury while you were intoxicated 60. $ ()_()O
6d. Other. Add all other priority unsecured claims. Write that amount here4 6d. $ O_O()
6e. Total Priorlty. Add lines 6a through 6d. 6e. $ ()_O()
Total Ciaim
6i. Student loans Gt. $ 0'00
Totai
claims
from Part 2 69. Obligations arising out of a separation agreement or divorce that 0 00
you did not report as priority claims 69» $ '
Gh. Debts to pension or profit~sharing plans, and other similar debts 6h. $ 0'00
6i. Other. Add all other nonpriority unsecured claims. Write that amount 6i. *
here tr 23,011.40
Gj. Tota| Nonpriority. Add lines 6t through 6i. 6]. $ 23,011_4()
Official Form 106 E/F Schedule Ele Creditors Who Have Unsecured Ciaims Page 9 of 10

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Debtor1 BRANDON PAUL STORMER
Debtor 2 AMANDA N|COLE STORMER Case number (irt<riewn)

 

 

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Ciaims Page 10 of 10
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Fill in this information to identify your case:

 

 

Debtor 1 BRANDON PAuL sroRtvtER

§ Flrst Name Middle Name Last Name
§Debtor 2 AMANDA N|COLE STORMER

§ (Spouse it, filing) First Name Middle Name Last Name

 

§ United States Bankruptcy Court for the: DiSTR|CT OF NEVADA

l
§ Case number

§tirknewn) “ § [] Checkifthisis an
§ amended filing

 

Official Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12/15

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1, Do you have any executory contracts or unexpired leases?
- Nov Check this box and file this form With the court With your other schedules You have nothing else to report on this form.
l:l Yes. Fil| in all ofthe information below even if the contacts of leases are listed on Schedule A/B.'Property (Officiai Form 106 A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples ofexecutory contracts
and unexpired leases

Person or company with whom you have the contract or lease State what the contract or lease is for
Name, Number, Street, City, State and ZlP Code

 

2.1
Name

 

 

Number Street

 

 

City State ZiP Code
2,2

Name

 

 

Number Street

 

City State ZlP Code
2.3

Name

 

 

Number Street

 

'city state th code
2.4

Name

 

 

Number Street

 

 

 

 

 

 

 

City State ZlP Code
2.5
Name
Number Street
City State ZiP Code
Official Form 106G Schedule G: Executory Contracts and Unexpired Leases Page 1 ofl

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Fill in this information to identify your case:

 

Debtor1 BRANDON PAUL STORMER
§ First Name Middle Name Last Name
§Debtor 2 AMANDA N|COLE STORMER

 

(Spouse lf, tillng) First Name Middle Name Last Name

United States Bankruptcy Court forthe: DiSTR|CT OF NEVADA
§ _

§ Case number
l(li k"°‘~“) [] Check if this is an
§ amended filing

 

 

 

Official Form 106H
Schedule H: Your Codebtors izlts

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. |f two married
people are filing together, both are equally responsible for supplying correct information. lf more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, Write
your name and case number (if known). Answer every question.

1. Do you have any codebtors? (lf you are n|ing a joint case, do not list either spouse as a codebtor_

- No
[:] Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, ldaho, Louisiana, Nevada, New l\/lexico, Puerto Rico, Texas, Washington, and Wisconsin.)

l No. co to line 3.
l:l Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

3. ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you, List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. lVlake sure you have listed the creditor on Schedule D (Official
Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Officiai Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
out Column 2.

 

 

 

 

 

 

Column 1: Your codebtor Column 2.' The creditor to whom you owe the debt
Name, Number, Street, City, State and ZlPCode Check an Schedules that app|y:
l`§jt¢§ l.°_l schedule o, line
Name ill schedule E/F, line
l:l Schedule G, line
Number Street
city stare zlP cede
§32§ |:l Schedule D, line
Name El schedule E/F, line
l:] Schedule G, line
Number Street
city state zlP cede
Official Form 106H Schedule H: Your Codebtors Page 1 of 1

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Fill in this informatlon to identlf

 

 

§ center l BRANDON PAuL sTORl\ilER
§Debr<)r 2 AMANDA l\llcoLl-: sToRlleR
1 (speuse§ ii lillng>

 

l

United States Bankruptcy Court for the: DlSTRlCT OF NEVADA

 

Check ifthis is:
[:l An amended filing
l l:] A supplement showing postpetition chapter

13 income as ofthe following date:
Official Form 106|
Schedule l: Your |ncome 12/15

§ Case number
(lf known)

 

|\/lI\/l / DD/ YYYY

 

 

 

Be as complete and accurate as possible. lf two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. lf you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. lf you are separated and your spouse is not filing with you, do not include information about your spouse. lf more space is needed,
attach a separate sheet to this form, On the top of any additional pages, write your name and case number (if known). Answer every question.

m Describe Emp|oyment

1. Fill in your employment

information. Debtor 1

Debtor 2 or non-filing spouse

 

 

lfyou have more than one job, l Emp|oyed
attach a separate page with
information about additional

employers

Emp|oyment status
[l Not employed

Occupation CRANE OPERATOR

. Empioyed
L_.l Not employed

BAKER

|nc|ude part-time, seasonal, or

self-employed work. Emp|Oyer's name

T|lVlET CRUl\/|Bl

Occupation may include student Emp|oyer's address

or homemaker, ifit applies 181 N' WATER STREET

Henderson, NV 89015

8085 BLUE DlAlV|OND RD
Las Vegas, NV 89178

 

How long employed there? 3 YEARS

m Give Details About Monthly |ncome

Estimate monthly income as ofthe date you file this form. lf you have nothing to report for any |ine, write $0 in the space. |nclude your non-filing
spouse unless you are separated

|f you or your non~flling spouse have more than one employer, combine the information for all employers for that person on the lines below. |fyou need
more space, attach a separate sheet to this form_

For Debtor 1 For Debtor 2 or
non-filing spouse

 

List monthly gross wages, salary, and commissions (before all payroll

 

 

 

2~ deductions). lf not paid monthly, calculate what the monthly wage would be. 2- $ 5»078'00 $ 522'60
3. Estimate and list monthly overtime pay. 3. +$ 0.00 +$ 0.00
4. Ca|culate gross |ncome. Add line 2 + line 3. 4. $ 5,078.00 S 522.60

 

 

 

 

 

Oli'lcizl| Form 1061 Schedule I: Your Incomc 'pl\ge l

 

Debtor 1
Debtor 2

10.

11.

12.

13.

Oll`lciul l"oml 1061

C°I°V line 4 here

List all payroll deductions:

5a. Tax, Medicare, and Social Security deductions

5b. Mandatory contributions for retirement plans

Sc. Voluntary contributions for retirement plans

5d. Required repayments of retirement fund loans

5e. lnsurance

5f. Domestic support obligations

59. Union dues

Sh. Other deductions Specify:

Add the payroll deductions. Add lines 5a+5b+50+5d+5e+5f+5g+5h.

Ca|culate total monthly take-home pay. Subtract line 6 from line 4.

List all other income regularly received:

8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income.

Bb. lnterest and dividends

80. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
|nclude alimony, spousal support, child support, maintenance, divorce
settlement and property settlement

8d. Unemployment compensation

8a. Social Security

Sf. Other government assistance that you regularly receive
|nclude cash assistance and the value (if known) of any non~cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies
Specify:

89. Pension or retirement income

8h. Other monthly income. Specify:

Add all other income. Add lines 8a+Bb+th+Bd+8e+8f+89+8hv

Ca|culate monthly income. Add line 7 + line 9. 10.

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BRANDON PAUL STORMER
AMANDA N|COLE STORMER

 

 

 

 

Add the entries in line 10 for Debtor1 and Debtor 2 or non-ming spouse

State all other regular contributions to the expenses that you list in Schedule J.
lnclude contributions from an unmarried partner, members ofyour household, your dependents your roommates, and
other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedu/es and Statisticai Summary of Certain Liab/lities and Related Data, if it

Case number (if/<nown)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

For Debtor1 For Debtor 2 or
non-filing spouse
4. $ 5,078.00 $ 522.60
5a $ 909.63 $ 39.82
5b. $ 0.00 $ 0.00
50. $ 139.25 $ 0.00
5d. $ 0.00 $ 0.00
5e. $ 464.30 $ 0.00
5f. $ 0.00 $ 0.00
59. $ 0.00 $ 0.00
5h.+ $ 0.00 $ 0.00
6. $ 1,513.18 $ 39.82
7. $ 3,564.82 $ 482.78
8a. $ 0.00 $ 0.00
Bb, $ 0.00 $ 0.00
80. $ 0.00 $ 0.00
8d. $ 0.00 $ 0.00
8a. $ 0.00 $ 0.00
8f. $ 0.00 $ 0.00
89- $ 0.00 $ 0.00
Bh.+ $ 0.00 $ 0.00
9, $ 0.00 $ 0.00
$ 3,564.82 + $ 482.78 = $ 4,047.60

 

 

 

 

 

 

 

 

applies

Do you expect an increase or decrease Within the year after you file this form?

l
[]

No.

 

 

 

 

11 . +$ 0.00
$ ________ il 1941.;§9,
Combined

monthly income

 

Yes. Explaln: §

Schedule I: Your Incomc

page 2

 

 

 

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l Fill in this information to identify your case:

§D€\>lori BRAl\lool\l PAuL sToRlleR

 

Check if this is:
§ |:| An amended filing
§ Debtor 2 AMANDA N|COLE ST()R|V|ER [:| A supplement showing postpetition chapter

§ (speuse, ii lillng>

l
United States Bankruptcy Court for thef D|STRlCT OF NEVADA

 

13 expenses as of the following date:

 

l\/ll\/l / DD /YYYY

 

l Case number
(lf known)

 

 

Official Form 106J
Schedule J: Your Expenses lens

 

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Describe Your Househoid

 

1. ls this ajoint case?
ij No. Go to line 2.
- Yes Does Debtor 2 live in a separate household?

l No
|:l Yes. Debtor 2 must file Official Form 106J~2, Expenses for Separate Househo/d of Debtor 2.

2. Do you have dependents? l`_'l NO

DO not list Debtor 1 and - Yes Fill out this information for Dependent’s relationship to Dependent’s Does dependent
Debtor 2 ' each dependent .............. Debtor1 or Debtor 2 age live with you?

Do not state the m No
dependents names DAUGHTER 2 l Yes

m No
SON 7 . Yes
l:l No
l:l Yes
[:l No
L__l Yes

   

 

 

 

 

3, Do your expenses include - NO
expenses of people other than m
yourself and your dependents? Yes

Estimate Your Ongoing Monthly Expenses

 

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. lf this is a supplemental Schedule J, check the box at the top of the form and till in the
applicable date.

|nclude expenses paid for with non~cash government assistance if you know
the value of such assistance and have included it on Schedule l: Your lncome
(Officiai Form 106|.)

 

4. The rental or home ownership expenses for your residence. include first mortgage

 

 

 

 

 

payments and any rent for the ground or lot, 4~ $ 1’299'00

lf not included in line 4:

4a. Reai estate taxes 4a. $ 0.00

4b. Property, homeowner‘s, or renter`s insurance 4b. $ 0_00

4c. Home maintenance, repair, and upkeep expenses 4c. $ 0_00

4d. Homeowner's association or condominium dues 4d. $ O_OO
5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0.00

 

Official Form 106J Schedule J: Your Expenses page 1

 

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Debtor1 BRANDON PAUL STORMER
Debtor 2 AMANDA N|COLE STORMER

6.

.O°.\'

11.
12.

13.
14.
15.

16.

19.

20.

21.
22.

23.

24.

Ofncial Form 106J

 

Utilities:
6a Electricity, heat, natural gas
6b, Water, sewer, garbage collection

6d. Other. Specify;

Case number (if known)

 

Food and housekeeping supplies
Childcare and children’s education costs
Clothing, laundry, and dry cleaning
Personal care products and services
Medical and dental expenses

Do not include car payments

lnsurance.

15a. Life insurance

15b. Health insurance

150. Vehicle insurance

15d. Other insurance Specify:

 

Specify:

 

installment or lease payments:
17a Car payments for Vehicle 1

17b. Car payments for Vehicle 2
17c. Other. Specify:

 

17d. Other. Speclfy:

 

Specify:

 

20a. l\/lortgages on other property
20b. Real estate taxes

Other: Specify:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Ca|culate your monthly expenses
22a. Add lines 4 through 21.

Ca|culate your monthly net income.

 

 

 

 

 

 

63~ $ 200.00
6b. $ 40.00
60. Telephone, cell phone, lnternet, satellite, and cable services 60. $ 250,00
6d. $ 0.00
7~ $ 600.00
8. $ 200.00
9. $ 100.00
10. $ 150.00
11. $ 0.00
Transportatlon. |nclude gas, maintenancel bus or train fare. §2_ $ 0-00
Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 0_00
Charitable contributions and religious donations 14. $ O_OO
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a $ 0.00
15b. $ 0.00
15c. $ 300.00
15d. $ 0.00
Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
16. $ 0.00
173. $ 733.00
17b. $ 295.00
17c. $ 0.00
17d. $ 0.00
Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Schedule l, Your lncome (Officiai Form 106l). 13~ 55 0-00
Other payments you make to support others who do not live with you. $ 0,00
19.
Other real property expenses not included in lines 4 or 5 of this form or on Schedule l: Your/ncome.
20a. $ 0.00
20b` $ 0,00
200. Property, homeowner’s, or renter’s insurance 20c. $ 0_00
20d. l\/laintenance, repairl and upkeep expenses 20d. $ 0.00
20e. Homeowner`s association or condominium dues 20e. $ 0.00
21. +$ 0.00
$ 42167.00
22b. Copy line 22 (monthly expenses for Debtor 2), ifany, from Official Form 106.1-2 $
220. Add line 22a and 22b. The result is your monthly expenses $ _§____MM___*_"__M_4,_1_61:9§1
23a Copy line 12 (your combined monthly income) from Schedule l. 23a $ 4,047_60
23b. Copy your monthly expenses from line 220 above. 23b. -$ 4,167.00
23c. Subfract your monthly expenses from your monthly lncome. 23a $ 419-40

The result is your monthly net income.

 

 

 

Do you expect an increase or decrease in your expenses within the year after you file this form?

For examp|e, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a

modification to the terms of your mortgage?

l No.

 

[] Yes. § Exp|ain here;

Schedule J: Your Expenses

page 2

 

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Fill in this information to identify your case:

 

 

§ Debtor 1 BRANDol\l PAuL sroRii/lER
§ First Name Middle Name Last Name
loehlor 2 AMANDA l\llcol_l=_ sToRi\/lER
§ (Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: DlSTR|CT OF NEVADA
l
§ Case number
§ lt l<"°vm> i;l cheek if this le an
§ amended filing

 

 

Official Form 106Dec
Declaration About an individual Debtor's Schedules ahs

 

lf two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedulesl lVlaking a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

- Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forrns?

|:]No

l Yes. Name of person JANEE ALLEN Attach Bankruptcy Pet/fion Preparer’s Notice.
Declaration, and Signature (Officiai Form 119)

 

 
  

Under penalty of perjury, l declare that l have read the summary and schedu/l}e}s filed is den aration and

that they are true and correct.

W X //

  

 

 

 

 

BRANDON PAuL sroRlleR Klvl`thDA l\llcoLE sToRMER

Signature of Debtor1 Signature of Debtor 2

Date January15, 2019 Date January 15, 2019
Official Form 106Dec Declaration About an individual Debtor's Schedules

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Case 19-10286-ml<n Doc 1 Entered 01/17/19 15:03:06 Page 46 of 61

Fill in this information to identify your case:

 

 

Deblor 1 BRANDON PAUL sToRlleR
l First Name Middle Name Last Name
(Spouse if, filing) First Name Middle Name Last Name

 

 

United States Bankruptcy Court for the: DlSTR|CT OF NEVADA

 

Case number

§ (if known)

 

[___] Check if this is an

l
l
§ Debtor 2 AMANDA N|COLE STORMER §
l
§ amended ming

 

Official Form 107
Statement of Financial Affairs for individuals Fiiing for Bankruptcy 4116

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form, On the top of any additional pages, write your name and case
number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

1. What is your current marital status?

l l\/larried
l:l Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

l:] No
- Yes. List all ofthe places you lived in the last 3 years Do not include where you live now.

Debtor 1 Prior Address: Dates Debtor1 Debtor 2 Prior Address: Dates Debtor 2
lived there lived there

2819 DORSET AVE From`TO: l Same as Debtor1 . Same as Debtor1

Henderson, NV 89074 From_Te;

 

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territo/ies include Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and V\Asconsin.)

- No
l:l Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Expiain the Sources of Your income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount ofincome you received from alljobs and all businesses including part~time activities
li you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

l:l No
. Yes. Fill in the details
Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check all that apply, (before deductions and Check all that apply. (before deductions
exclusions) and exclusions)
From Januaryv1 of current year until - Wages' Commissions§ $2,682.01 l:l Wages, commissions $120.60
the date you filed for bankruptcy: bonuses' tips bonuses' tips
|] Operating a business [:l Operafing a business
Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 1

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mental BRANDON PAuL sToRi\/lER

 

 

 

 

Debtor 2 AMANDA N|COLE STORMER Case number (ifi<nown)

Debtor 1 Debtor 2

Sources of income Gross income Sources of income Gross income

Check all that app|y. (before deductions and Check all that apply. (before deductions

exclusions) and exclusions)

For last calendar year: - Wa es Commissions $85,905.75 l:l Wages, commissions $0.00
(January 1 to December 31, 2018) bonus§$ §§ps ’ bonuses, tips

l:] Operatlng a business m Operafing a business
For the calendar year before that - \/\/age$l Commjsgjons§ $64,622.00 m WBQ€S, COmmlSSlOnS, $0-00
(January 1 to December 31, 2017 ) bonuses tips § bonuses' tips

l:l Operating a business m Opeiafing 3 business

 

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless ofwhether that income is taxable Examples of other income are alimony; child support; Social Security. unemployment.
and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
winnings if you are filing a joint case and you have income that you received together, list it only once under Debtor1.

List each source and the gross income from each source separately Do not include income that you listed in line 4.

- No
[:l Yes. Fill in the details
Debtor 1 Debtor 2
Sources of income Gross income from Sources of income Gross income
Describe below. each source Describe below. (before deductions
(before deductions and and exclusions)
exclusions)

m List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

l___l No. Neither Debtor1 nor Debtor 2 has primarily consumer debts Consumer debts are defined in 11 U.S,C. § 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose."

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
5 No. se re line 7.
m Yes List below each creditor to whom you aid a total of $6,425* or more in one or more ayments and the total amount you
p P
paid that creditor. Do not include payments for domestic support obligations such as child support and alimony. Also, do
not include payments to an attorney for this bankruptcy case.
* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment

- Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more’?

- No. Go to line 7.

m Yes l.ist below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. 00 not
include payments for domestic support obligations such as child support and alimony. Also, do not include payments to an
attorney for this bankruptcy case.

Creditor's Name and Address Dates of payment Total amount Amount you Was this payment for
paid still owe
Official Form 107 Statement of Financial Affairs for lndividuals Fiiing for Bankruptcy page 2

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Debtor1 BRANDON PAUL STORMER
Debtor 2 AMANDA N|COLE STORMER Case number (if/mown)

 

Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who Was an insider?

/nsiders include your relatives; any general partners; relatives of any general partners; partnerships ofwhich you are a general partner; corporations
ofwhich you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations, such as child support and
alimony.

- No

l:] Yes. List a|| payments to an insider.

lnsider's Name and Address Dates of payment Tota| amount Amount you Reason for this payment
paid still owe

Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?
include payments on debts guaranteed or cosigned by an insider.

l No

l:l Yes. List all payments to an insider

lnsider‘s Name and Address Dates of payment Totai amount Amount you Reason for this payment
paid still owe include creditor's name

mm identify Lega| Actions, Repossessions, and Foreclosures

9.

10.

11.

12,

Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
modifications, and contract disputes

. No
[:] Yes, Fill in the details
Case title Nature of the case Court or agency Status of the case

Case number

Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

l No_ so to line 11.
l:l Yes. Fill in the information below.
Creditor Name and Address Describe the Property Date Value of the
property
Expiain what happened

Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

l No
l:l Yes. Fill in the detai|s.
Creditor Name and Address Describe the action the creditor took Date action was Amount

taken

Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?

. No
[] Yes

m |__ist Certain Gifts and Contributions

13.

Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
- No
l:l Yes. Fill in the details for each gift

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
Person to Whom You Gave the Gift and
Address:
Official Form 107 Statement of Financial Affairs for individuals Fiiing for Bankruptcy page 3

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Case 19-10286-mkn

Debtor1 BRANDON PAUL STORMER
Debtor 2 AMANDA N|COLE STORMER

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Case number (/r/<nown)

 

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
- No

[:l Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities that total Describe what you contributed Dates you
more than $600

contributed
Charity's Name
Address (Number, street city, state and ziP code)

List Certain Losses

Value

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?

- No
ij Yes. Fill in the details

Describe the property you lost and

Describe any insurance coverage for the loss
how the loss occurred

Date of your Value of property
|nclude the amount that insurance has paid. List pending loss lost

insurance claims on line 33 of Schedule A/B: Property.
List Certain Payments or Transfers

16_ Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?

include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy
[:l No
l Yes. Fiii in the details

Person Who Was Paid Description and value of any property

Date payment Amount of
Address transferred or transfer was payment
Emaii or website address made
Person Who Made the Payment, if Not You
JANEE ALLEN BANKRUPTCY PREPARER FEE 01/08/2019 $200.00
P.O. BOX 570422

Las Vegas, NV 89157
ALLENSDOCSERV|CE@GN|A|L.COl\/l

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

. No
l:l Yes. Fill in the detai|s.
Person Who Was Paid

 

Description and value of any property Date payment Amount of
Address transferred or transfer was payment
made

 

164 Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

|nc|ude both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement.

- No
l:l Yes. Fill in the details

Person Who Received Transfer Description and value of Describe any property or Date transfer was
Address property transferred payments received or debts made

paid in exchange
Person`s relationship to you

 

Official Form 107 Statement of Financial Affairs for individuals Fiiing for Bankruptcy

page 4
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Debtor1 BRANDON PAUL STORMER
Debtor 2 AMANDA N|COLE STORMER Case number (/rknot-m>

 

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of Which you are a
beneficiary? (These are often called asset-protection devices.)

- No
II| Yes. Ftll in the details

Name of trust Description and value of the property transferred Date Transfer was
made

List of Certain Financial Accounts, lnstruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?

include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions

[] No
l Yes. Fill in the details

 

Name of Financial institution and Last 4 digits of Type of account or Date account Was Last balance
Address (Number, street, city, state and zlP account number instrument closed, sold, before closing or
Code) moved, or transfer
transferred
NAVY FEDERAL CRED|T UN|ON XXXX- l Checking 01/2019 $3.00
NAVY FEDERAL L__] Savings
PO BOX 3700 l:i lVioney Market
l\/lerrifield, VA 22119 m
Brokerage
[] Other_

 

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

 

 

. No

lll Yes. Fill in the details

Name of Financial institution Who else had access to it? Describe the contents Do you still
Address (Number, street clty, state and zlP code) Address (Number, street ctty, have it?

State and ZlP Code)

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
l No
l:l Yes. Fill in the detai|s.

Name of Storage Facility Who else has or had access Describe the contents Do you still
Add ress (Numver, street city, state and zlP code) to it? have it?

Address (Number, street clty,
State and Z|P Code)

ldentify Property You Hold or Control for Someone Else

 

23. Do you hold or control any property that someone else owns? |nclude any property you borrowed from, are storing for, or hold in trust
for someone.

- No
l:l Yes. Fill in the details.
Owner's Name Where is the property? Describe the property Value
Address (Number, street, clty, state ana zlP cede) (CN°udQ)b@f. Street Citv- State and ZlP
Official Form 107 Statement of Financial Affairs for individuals Fiiing for Bankruptcy page 5

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Debtor1 BRANDON PAUL STORMER
Debtor 2 AMANDA N|COLE STORMER Case number (lr/<newn)

 

 

m Give Details About Environmental information

For the purpose of Part 10, the following definitions apply:

l Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or material.

- Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

- Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutant, contaminant, or similar term.

l

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

- No

l:] Yes. Fill in the details.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, street crty, state and zlP cede) Address (Number, street, city, state and know it

ZIP COde)

25. Have you notified any governmental unit of any release of hazardous materia|?

- No

[:] Yes. Fill in the details.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Numner, street, city, state and zlP cede) Address tNumber, street, city, state and know it

zlP codei

26. Have you been a party in anyjudicial or administrative proceeding under any environmental law? include settlements and orders.

- No

l:l Ves. Fill in the details.

Case Title Court or agency Nature of the case Status of the
Case Number Name case

Address (Number, street, clty,
State and Z|P Code)

m Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
l:l A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
l:l A member of a limited liability company (LLC) or limited liability partnership (LLP)
El A partner in a partnership
l:l An officer, director, or managing executive of a corporation
i:l An owner of at least 5% of the voting or equity securities of a corporation
l No. None of the above applies. Go to Part 12.

[:l Yes. Check all that apply above and fill in the details below for each business.

Business Name Describe the nature of the business Empioyer identification number
Address Do not include Social Security number or lTlN.
(Nllmbel’, Street, City, State and ZlP Code) Name of accountant or bookkeeper

Dates business existed

Official Form 107 Statement of Financial Affairs for lndividuals Fi|ing for Bankruptcy page 6

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Debtor1 BRANDON PAUL STORMER
Debtor 2 AMANDA N|COLE STORMER Case number (/rknewn)

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? |nclude all financial
institutions, creditors, or other parties.

l No
[] Yes. Fill in the details below.

Name Date issued
Address
(Number, Street, City, State and ZlP Code)

Part12: Sign Be|ow

l have read the answers on this Statement ofFinancia/ Affairs and any attachments, and l declare under penalty of perjury that the answers
are true and correct. l understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or impr‘ onm 0 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571. '

  
 

 

 

f*BRA`N‘EoN PAuL sTORMER AMANDA NlcoLE`“'sToRl\/\ER
Signature of Debtor 1 Signature of Debtor 2
Date fJanuary15, 2019 m Date January 15, 2019

 

 

Did you attach additional pages to Your Statement ofFinancial Affairs for lndividuals Filing for Bankruptcy (Officiai Form 107)?

l No

[] Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forrns?

[:| No

l Yes. Name of Person JANEE ALLEN 4 Attach the Bankruptcy Petition Preparer’s Notice, Declaration. and Signature (Ofl'lcia| Form 119).

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7

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Fiii in this information to identify your case:
l

 

§D€beFi BRANDON PAUL STORMER
§ First Name Middle Name Last Name
§D€biOf 2 AMANDA N|COLE STORMER

 

§ (Spouse if, filing) First Name Middle Name Last Name

 

l
l

Case number
§ (if known)

 

|:] Check if this is an

i
§ United States Bankruptcy Court for the: DiSTR|CT OF NEVADA §
§ amended filing

 

Official Form 108
Statement of intention for individuals Fiiing Under Chapter 7 12/15

if you are an individual filing under chapter 7, you must fill out this form if:
- creditors have claims secured by your property, or

- you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

if two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
sign and date the form,

Be as complete and accurate as possibie. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who Have Secured Ciaims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Ciaims Secured by Property (Officiai Form 106D), fill in the
information beiow.

 

 

identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Ci€difOV'S GREATER NEVADA CRED|T i___] Surrender the property. m NO
name: i:] Retain the property and redeem it.
_ 4 ij Retain the property and enter into a . Yes
D€SCflpflOrt of 2014 JEEP LATiTUDE Reaffirmat/‘on Agreement.
propem' - Retain the property and [explain]:
securing debt: CONT|NUE PAYiNG MONTHLY
PAYMENTS
CrediiOf`S NAVY FEDERAL CREDiT UNiON l Sufrenderthe property, l NO
namei ij Retain the property and redeem it.
_ _ ij Retain the property and enter into a m Yes
DeSCprlOn Of 2018 CHEVROLET N|ALiBU Reaffirmation Agreement.
property i:] Retain the property and [exp|ain]:

securing debt:

 

 

Creditor's PRoGREsslvE LEAS¢NG El surrender the property iii No
name: L__i Retain the property and redeem it.
i:i Retain the property and enter into a - Yes
D€SCripinn Of CH|LDRENS BEDROOi\/i Reaffirmation Agreement.
property FURN|TURE
Ofnciai Form 108 Statement of intention for individuals Fiiing Under Chapter 7 page 1

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Debtor1 BRANDON PAUL STORMER
Debtor 2 AMANDA N|COLE STORMER Case number (if/<newn)

 

 

. Retain the property and [explain]:
Secufing debt: CONT|NUE lViAKiNG MONTHLY
PAYiViENTS

 

 

-,_l,ist Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Officiai Form 106G), fill
in the information beiow. Do not list real estate ieases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease itthe trustee does not assume it. 11 U.S.C. § 365(p)(2).

 

 

Describe your unexpired personal property leases Wiil the lease be assumed?
Lessor‘s name: i:l No
Description of leased

Property: I:l Yes
Lessor's name: i:] No
Description of leased

Property: L__l Yes
Lessor‘s name: l:l No
Descrlption of leased

Property: m Yes
Lessor‘s name: i:i No
Description of leased

Property: . ij Yes
Lessor‘s name: l:l No
Description of leased

Property: l:l Yes
Lessor‘s name: i:l No
Description of leased

Property: I:i yes
Lessor‘s name: i:i No
Description of leased

Properly: i:i Yes

Sign Beiow

Under penalty of perjury, l declare that l have indicated my intention about any pro erty fmy estate that secures a debt and any personal
pro that is subject to an unexpired lease.

/W /1&

BRANDON PAUL STORMER AMANDA N|COLE STORMER

 

 

 

 

 

 

 

Signature of Debtor 1 Signature of Debtor 2
Date January 15, 2019 Date January 15, 2019
Official Form 108 Statement of intention for individuals Fiiing Under Chapter 7 page 2

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Fm in this information to identify Y°u" Case: Check one box only as directed in this form and in Form

 

 

lbeaten BRANDON PAuL sToRMER 122/\'13“9|°1
l

 

‘ (Spouse, lt filing)

‘ ij 2. The calculation to determine if a presumption of abuse
applies will be made under Chapter 7 Means Test
Calculation (Officiai Form 122A-2).

 

United States Bankruptcy Court for the: District of Nevada

Case number
§ (if known

 

[] 3. The Means Test does not apply now because of

|
l
Debtor 2 AMANDA N|COLE STO RMER § . 1.Tnere is no presumption of abuse
§ quaiined military service but it could apply iater.

4
§

 

l:l Check if this is an amended filing

Official Form 122A - 1
Chapter 7 Statement of Your Current lVionthly income 12/15

 

 

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for being accurate. if more space is needed,
attach a separate sheet to this form, include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). if you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and tile Statement of Exemption from Presumption ofAbuse Under§ 707(b)(2) (Officiai Form 122A-1Supp) with this form,

Ca|culate Vour Current iVlonthly income

 

1. What is your marital and filing status? Check one only.
l:l Not married. Fill out Column A, lines 2-11.

l Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
[:] lViarried and your spouse is NOT filing with you. You and your spouse are:
[:] Living in the same household and are not legally separated. Fiii out both Columns A and B, lines 2-11.

ij Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this bo)<, you declare under
penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
living apart for reasons that do not include evading the i\/leans Test requirements 11 U.S.C § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
101(10A). For exampie, il you are filing on Sepiember 15, the 6-month period would be March 1 through August 31. if the amount of your monthly income varied during
the 6 months, add the income for all 6 months and divide the total by 6. Fill in the resuii. Do not include any income amouni more than once, For exampie, if both
spouses own the same rental property, put the income from that properly in one column on|y. lfyou have nothing to report for any line, write $0 in the spacer

 

Column A Column B
Debtor1 Debtor 2 or
non-filing spouse

21 Your gross wages, saiary, tips, bonuses, overtime, and commissions (before ali

 

payroll deductions). $ 4,637-38 $ 480.40
3, Alimony and maintenance payments. Do not include payments from a spouse if
Column B is filled in. $ 0.00 $ 0.00

 

4. Ali amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. include regular contributions
from an unmarried partner, members ofyour househo|d, your dependents parents,
and roommates. include regular contributions from a spouse only ifCoiumn B is not

 

 

 

 

 

 

 

filled ln. Do not include payments you listed on line 3. 0-00 3 0'00
5. Net income from operating a business, profession, or farm
Debtor 1
Gross receipts (before ali deductions) $ 0-00
Ordinary and necessary operating expenses '$ _~_9_-99_
Net monthly income from a business, profession, or farm $ 0~00 Copy here '> $ 0'00 3 0-00
6. Net income from rental and other real property
Debtor 1
Gross receipts (before all deductions) $ 0-00
Ordinary and necessary operating expenses ‘$ 0-00
Net monthly income from rental or other real property $ __ 0-00 Copy here -> $ 0.00 $ 0.00
7. lnterest, dividends, and royalties $ 0'00 $ 0'00
Official Form 122A-1 Chapter 7 Statement of Your Current Monthly income page 1

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Debtor1 BRANDON PAUL STORMER

 

 

 

Debtor 2 AMANDA N|COLE STORMER Case number (ifknown)
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
8. Unemployment compensation $ 0.00 $ 0.00

 

Do not enter the amount if you contend that the amount received was a benefit under
the Sociai Security Act. instead, list it here:
FOr YOU$ 0.00

For Y°Ur SPOUS@$ 0.00
9. Pension or retirement income. Do not include any amount received that was a

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

benefit under the Sociai Security Act. $ 0~00 $ 0'00
10, income from all other sources not listed above. Specify the source and amount.
Do not include any benents received under the Social Security Act or payments
received as a victim of a war crime, a crime against humanity, or international or
domestic terrorism. lt necessary, list other sources on a separate page and put the
total beiow.
$ 0.00 $ 0.00
$ 0.00 $ 0.00
Totai amounts from separate pages, ifany. + $ 0.00 $ 0.00
11. Ca|culate your total current monthly income. Add lines 2 through 10 for _§
each column. Then add the total for Column A lo the total for Column B. $ 4’687~38 + 3 480'40 $ 51167'78
l
Totai current monthly
income
Determine Whether the lVieans Test Appiies to You
12. Ca|culate your current monthly income for the year. Fol|ow these steps:
12a Copy your total current monthly income from line 11C0py line 11 here=> $ 5 167_78
l\/iuitip|y by 12 (the number ofmonths in a year) x 12
12b. The result is your annual income for this part of the form 12b. $ 52»013-36

 

 

 

13. Ca|culate the median family income that applies to you. Fo||ow these steps:

Fiii in the state in which you iive. § NV
Fill in the number of people in your househoid. 4 §

Fill in the median family income for your slate and size of household 13_ $ 82,970.00

To find a list ofappiicable median income amounts, go online using the link specined in the separate instructions
for this form, This list may also be available at the bankruptcy clerk’s office

 

 

 

 

 

14. How do the lines compare?

14a . i_ine 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption ofabuse. §
Go to Part 3.

14b. ij Line 12b is more than line 13. On the top of page 1, check box 2, The presumption ofabuse is determined by Form 122A-2.
Go to Part 3 and nil out Form 122A-2.

m Sign Beiow

B ~gning here, |<g§,ciam-wnd@el@w of perjury that the information on thWWaclnents is true and correct.
;;y:"\_/ X _ " »~'

 

 

 

 

 

BRANDON PAUL STORMER AlVlANDA N|COL€STORMER
Signature of Debtor1 Signature of Debtor 2

Date rAJanuary15, 2019 Date January15, 2019
Ml\/i/DD /YYYY l\/lM/DD /YYYY

ifyou checked line 14a, do NOT fill out or file Form 122A~2
ifyou checked line 14b, fill out Form 122A~2 and file it with this form.

 

 

 

Official Form 122A-1 Chapter 7 Statement of Your Current lVionthly income page 2
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United States Bankruptcy Court
District of Nevada
BRANDON PAuL STORMER

111 re AMANDA NlcoLE sTORMER CHS@NO-
Debtor(s) Chapter 7

 

 

VERIFICATION ()F CREDITOR MATRIX

The above-named Debtois hereby verify that the attached list of creditors is true and correct to the best of their knowledge

Date: Januaryt§, 2019 , W,Zf» k
BRAND NF§UL STOR/N%R
Signah of ebl' rs '

Date: January15, 2019 j / w

AM’AN)DA Nrcoi_é sToRiviER
Signature of Debtor

 

 

 

 

 

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BRANDON PAUL STORMER
AMANDA.NICOLE STORMER
8610 SICARYLAND PKWY #2078
Las Vegas, NV 89123

JANEE ALLEN
P.O. BOX 570422
Las Vegas, NV 89157

ARMY/AIR FORCE EXCHANGE
Acct No XX/XX/2014

P.O. BOX 650410

DallaS, TX 75265-0410

ATT DIRECTV
P.O.BOX 537104
Atlanta, GA 30353

CAPITAL ONE

CAPITAL ONE

P.O. BOX 30281

Salt Lake City, UT 84130~0281

CHECK CITY

CHECK CITY

PO BOX 35227

Las Vegas, NV 89133

CONVERGENT OUTSOURCING
800 SW 39TH ST
Renton, WA 98057

COX COMMUNICATIONS
COX COMMUNICATIONS
PO BOX 79175

Phoenix, AZ 85062

COX COMMUNICATIONS
COX COMMUNICATIONS
PO BOX 79175

Phoenix, AZ 85062

DEBT RECOVERY SOLUTlONS
Acct No 1765

900 MERCHANTS CONCOURSE
SUITE LL 11

Westbury, NY 11590

DESERT RADIOLOGIST
DESERT RADIOLOGIST

PO BOX 3057
Indianapolis, IN 46206

 

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FLORENCE JAMERSON, MD
5281 S EASTERNQAVE
Las Veqas, NV 89119

GOOD NIGHT PEDIATRICS
2551 N GREEN'VALLEY'PKWY
Henderson, NV 89014

GRANT & WEBER

Acct No 0088

5586 S FORT.APACHE RD STE 110
Las Vegas, NV 89148

GREATER NEVADA_CREDIT
451 EAGLE STATION`LANE
Carson City, NV 89701-4720

H P SEARS CO. INC.
2000 18TH ST
Bakersfield, CA 93301-4292

1 C SYSTEM INC

Acct NO 8952

1 C SYSTEM INC

PO BOX 64378

Saint Paul, MN 55164

KOHLS PAYMENT CENTER
P.O. BOX 30510
Los Anqe1es, CA 90030~0510

MILITARY CREDIT SERVICE
1150 E LITTLE CREEK RD
Norfolk, VA 23518

MILITARY STAR

MILITARY STAR

3911 S. WALTON'WALKER.BLVD.
Dallas, TX 75236

MONEYTREE
MONEYTREE

PO BOX 58363
Seattle, WA 98138

MONTECITO POINTE APARTMENTS
9745 GRAND TETON`DR
Las VegaS, NV 89166

NATlONAL CREDIT SYSTEMS
3750 NATURALLY DRESH BLVD
Atlanta, GA 30349

 

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NAVY FEDERAL CREDIT UNION
0 ONE SECURITY PLAZA
Merrifield, VA 22119

NAVY FEDERAL CREDIT UNION
Acct No 2441

820 FOLLIN`LANE

PO# 143806

Vienna, VA 22180

PEDIATRIX MEDICAL GROUP
Acct No 8952

P.O. BOX 15278
Wilmington, DE 19850

PLUSFOUR INC.
PLUSFOUR INC.

6345 S PECOS RD STE 212
Las Vegas, NV 89120

PLUSFOUR INC.
PLUSFOUR INC.

6345 S PECOS RD STE 212
Las Vegas, NV 89120

PORTFOLIO RECGVERY
PORTFOLIO RECOVERY
140 CORPORATE BL STE 100
NOIfOlk, VA 23502

PROGRESSIVE LEASING
P.O.BOX 413110
Salt Lake City, UT 84141-3110

PROGRESSIVE LEASING
256 W DATA,DRIVE
Draper, UT 84020

RAPID CASH

RAPID CASH

5676 S EASTERNQAVE
Las Vegas, NV 89119

SHADOW EMERGENCY PHYSICIANS
Acct No 1765

P.O. 390915

Minneapolis, MN 55479

ST ROSE DOMINICAN'HOSPITAL SIENA.CAMPUS
Acct No 0088

ST RGSE DOMINICAN`HOSPITAL SIE

3001 SAINT ROSE PARKWAY

Henderson, NV 89052

 

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US BANK

ACC‘C NO 6237

Cb DISPUTES

P.O. BOX 108

Saint Louis, MO 63166~0108

 

 

